    Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 1 of 71



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

___________________________________
                          )
ATLAS, INC., et al.,      )                Case No.: 1:17-cv-01953-RDM
                          )
           Plaintiffs,    )                Hon. Randolph D. Moss
                       v. )
                          )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                          )
           Defendants.    )
                          )

DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS' MOTION FOR
               PRELIMINARY INJUNCTIVE RELIEF


Edward M. Gleason, Jr.                     Deirdre Hamilton
(D.C. Bar No. 429325)                      (D.C. Bar No. 472334)
Chief Counsel, Teamsters Local 1224        Staff Attorney
Law Office of Edward Gleason, PLLC         International Brotherhood of
910 17th Street, N.W., Suite 800           Teamsters
Washington, DC 20006                       25 Louisiana Ave., NW
Ph: 202-800-0099                           Washington, DC 20001-2198
egleason@gleasonlawdc.com                  Phone: (202) 624-6948
                                           Fax: (202) 624-6884
James Petroff (Ohio Bar. No. 42476)        dhamilton@teamster.org
Trent R. Taylor (Ohio Bar. No. 91748)
BARKAN MEIZLISH, LLP
250 East Broad Street, 10th Floor
Columbus, Ohio 43215
Ph: (614) 221-4221
Fax: (614) 744-2300
jpetroff@barkanmeizlish.com
ttaylor@barkanmeizlish.com

(Applications for Admission pending)

Counsel for Defendants International Brotherhood of Teamsters and Teamsters
Local 1224
           Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 2 of 71



                                                TABLE OF CONTENTS




I. INTRODUCTION ................................................................................................................. 1

II. STATEMENT OF FACTS ................................................................................................ 3

III. ARGUMENT ..................................................................................................................... 19
   A. The Court Lacks Subject Matter Jurisdiction Because Plaintiffs'
   Claims Present a "Minor Dispute" Concerning Interpretation of the
   CBA…… .......................................................................................................................... 1920

      1.    The Carrier's Claim of a "Slowdown" is Cognizable Under the CBA .......................19

      2. The Carriers Claim that the Pilots Discretionary Decisions not to Fly Fatigued,
      Not to Volunteer for Open Time, and to Not to Waive Minimum Equipment List or
      Other Contractual Shortcomings are Minor Disputes ....................................................27

   B. The Court Lacks Subject Matter Jurisdiction over Plaintiffs' Claims
   under Section 8 of the Norris LaGuardia Act ....................................................... 31

   C. The Carrier Has Failed to Demonstrate the Essential Elements of
   Injunctive Relief ................................................................................................................ 40

      1.    The Standard for RLA Preliminary Injunctive Relief ..............................................40

      2.    The Carrier's Definition of the Status Quo is Erroneous .........................................42

      3.    The Carrier's Delay Militates Against Injunctive Relief ..........................................50

      4.    The Carrier's Statistical Evidence of a Slowdown is Untrustworthy ......................52

      5. There is No "Clear Proof" of a Violation Attributable to the Pilots Union under
      NLGA Section 6 ...............................................................................................................53

      6.    The Carrier's Anecdotal Evidence of a Slowdown is Suspect ...................................55

      7. The Balance of the Equities Militates Against Granting Preliminary Injunctive
      Relief ................................................................................................................................57

   D.      The Carrier's Request for Relief Sought is Fatally Overbroad............. 58

      1. Plaintiffs’ Request for an Injunction Should Be Denied Because They Cannot
      Substantiate Their Allegations as Required By NLGA Section 9 ..................................59




                                                                      i
           Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 3 of 71



      2. Plaintiffs’ Requested Injunction is an Impermissible Prior Restraint Under the
      First Amendment. ............................................................................................................63

IV. CONCLUSION ................................................................................................................. 68




                                                                 ii
             Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 4 of 71



                                               TABLE OF AUTHORITIES

Cases

ABX Air, Inc. v. Airline Professionals Ass’n of the Int’l Bhd. of Teamsters, Local No.
 1224, 266 F.3d 392 (6th Cir. 2001) .............................................................................. 30, 32

Air Line Pilots Ass’n v. United Air Lines, Inc., 802 F.2d 886 (7th Cir. 1986) ....... 53, 54

Aircraft Serv. Int'l, Inc. v. Int'l Bhd. of Teamsters, 779 F.3d 1069 (9th Cir. 2015) ... 38

Aircraft Service Int'l. Inc. v. Int’l Bhd. of Teamsters AFL CIO Local 117, 742 F.3d
  1110 (9th Cir 2014)......................................................................................................... 67, 68

Allied Pilots Ass'n v. Amer. Airlines, Inc., 121 F. Supp. 2d 1168 (D.D.C. 2000) ....... 42

Alton & S. R. Co. v. BMWE, 639 F. Supp. 220 (D. D.C. 1986) ....................................... 35

Arbaugh v. Y & H Corp., 546 U.S. 500 (2006) ............................................................ 25, 26

Ass’n of Flight Attendants v. USAir, Inc., 24 F.3d 1432 (D.C. Cir. 1994) .................... 23

Bhd. of Locomotive Eng’rs v. Atchison, Topeka & Santa Fe Ry. Co., 768 F.2d 914
 (7th Cir. 1985) ....................................................................................................................... 51

Bhd. of Locomotive Eng’rs v. Louisville & Nashville R.R. Co., 373 U.S. 33 (1963) .. 22,
 24

Bhd. of Maint. of Way Empls. v. Burlington N. Santa Fe R.R., 270 F.3d 637 (8th Cir.
 2001) ........................................................................................................................................ 23

Bhd. of Maint. of Way Employees Div./IBT v. Nat'l R.R. Passenger Corp., 217 F.
 Supp. 3d 249 (D. D.C. 2016) ................................................................................... 23, 24, 25

Bhd. of R.R. Trainmen v. Akron & Barberton Belt R.R., 385 F.2d 581 (D.C. Cir.
 1967) ........................................................................................................................................ 36

Bhd. of R.R. Trainmen v. Chicago River & Ind. R.R. Co., 353 U.S. 30 (1957) ...... 22, 34

Bhd. of R.R. Trainmen, Enterprise Lodge, No. 27 v. Toledo, Peoria & W. R.R., 321
 U.S. 50 (1944) ........................................................................................................................ 36

Bhd. of R. R. Trainmen v. Virginia ex rel. Va. State Bar, 377 U.S. 1 (1964) .............. 66

Brown v. Illinois Central R.R. Co., 254 F.3d 654 (7th Cir. 2001) .................................. 24

Burlington N. R.R. Co. v. Bhd. of Main.e of Way Employees, 481 U.S. 429 (1987) .. 35,
 48

                                                                       iii
             Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 5 of 71



Central Vermont Ry. v. Bhd.. of Maint. of Way Employees, 793 F.2d 1298 (D.C. Cir.
  1986) ........................................................................................................................................ 33

Chicago & N. W. Ry. v. United Transp. Union, 402 U.S. 570 (1971) ..................... 47, 48

Consol. Rail Corp. v. Ry. Labor Executives’ Ass’n, 491 U.S. 299 (1989) ........... 22, 25, 27

Consol. Rail Corp. v. RLEA, 491 U.S. 299 (1989).............................................................. 44

CSX Transp., Inc. v. United Transp. Union, 395 F.3d 365 (6th Cir. 2005) ................. 28

Davenport v. Int’l Bhd. of Teamsters, 166 F.3d 356 (D.C. Cir. 1999)............................ 42

Delaware & Hudson Ry. Co. v. United Transportation Union, 450 F.2d 603 (D.C.
  Cir. 1971) ................................................................................................................................ 42

Delmatoff, Greow, Morris Langhans, Inc. v. Children's Hosp. Nat'l Med. Ctr., 1989
  WL 168856 (D.D.C. May 3, 1989)...................................................................................... 52

Delta Air Lines, Inc. v. Air Line Pilots Ass’n, Int’l, 238 F.3d 1300 (11th Cir. 2001) . 31,
  32

Detroit & Toledo Shore Line R.R. v. United Transp. Union, 396 U.S. 142
  (1969)("Shore Line") ................................................................................................. 43, 49, 50

Elgin, J. & E. Ry. Co. v. Burley, 325 U.S. 711 (1945) ................................................. 22, 23

Emswiler v. CSX Transportation, Inc., 691 F.3d 782 (6th Cir. 2012) ........................... 26

Everett v. USAirways, 132 F. 3d 770 (D.C. Cir. 1998)...................................................... 24

Fund for Animals v. Frizzell, 530 F.2d 982 (D.C. Cir. 1975) .......................................... 52

Hawaiian Airlines, Inc. v. Norris, 512 U.S. 246 (1994) ................................................... 22

In re Dist. No. 1—Pac. Coast Dist., Marine Eng'rs Beneficial Ass'n (AFL–CIO), 723
  F.2d 70 (D.C. Cir. 1983) ...................................................................................................... 36

In re Navy Chaplaincy, 738 F.3d 425 (D.C. Cir. 2013)..................................................... 42

Int’l Ass'n of Machinists & Aerospace Workers, AFL-CIO v. Eastern Air Lines, Inc.,
  849 F.2d 1481 (D.C. Cir. 1988) .......................................................................................... 61

Int’l Ass’n of Machinists v. Cent. Airlines, Inc., 372 U.S. 682 (1963) ............................ 24

Int'l Bhd. of Teamsters, etc. Local 19 v. Southwest Airlines Co., 875 F.2d 1129 (5th
  Cir. 1989)(en banc) ............................................................................................................... 28


                                                                        iv
             Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 6 of 71



Karhani v. Meijer, 270 F.Supp. 2d 926 (E.D. Mich. 2003)............................................... 65

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375 (1994) .................................. 25

Local 553, Transport Workers Union v. Eastern Air Lines, 695 F.2d 668 (2nd Cir.
  1982) ........................................................................................................................................ 37

Marine Cooks & Stewards v. Panama S.S. Co., 362 U.S. 365 (1960) ........................... 33

Metropolitan Edison Co. v. N.L.R.B., 460 U.S. 693 (1983) ............................................. 28

Metropolitan Opera Ass'n, Inc. v. Local 100, Hotel Employees and Restaurant
 Employees Int'l. Union, 239 F.3d 172 (2d Cir 2001) ............................................... 64, 65

Miller v. United Food & Commercial Workers Union, 708 F.2d 467 (9th Cir. 1983) 68

Mylan Pharms., Inc. v. Shalala, 81 F. Supp.2d 30 (D.D.C. 2000) ................................. 52

NAACP v. Button, 371 U.S. 415 (1963)................................................................................ 68

NAACP v. Claiborne Hardware Co., 459 U.S. 898 (1982) ......................................... 66, 68

Oakey v. U.S. Airways Pilots Disability Income Plan, 839 F. Supp.2d 225 (D.D.C.
 2012) .................................................................................................................................. 23, 26

Office & Professional Employee Int’l Union v. PHI, Inc., 2012 WL 4471572 (W.D. La.
  2012) ........................................................................................................................................ 39

Open Top Sightseeing USA v. Mr. Sightseeing, LLC, 48 F. Supp. 3d 87, 90 (D.D.C.
 2014); Newdow v. Bush, 355 F. Supp.2d 265 (D.D.C. 2005). ...................................... 51

Organization for a Better Austin v. Keefe, 402 U.S. 415 (1971) ..................................... 65

Rutland Ry. Corp. v. Bhd. of Locomotive Eng'rs, 307 F.2d 21 (2d Cir. 1962) ............. 38

Ry. Labor Executives’ Assn v. Soutger Ry. Co., 860 F.2d 1038 (11th Cir. 1988) ......... 51

S. Ry. Co. v. Locomotive Firemen, 384 F.2d 323 (D.C. Cir. 1997) .................................. 29

Sherley v. Sebelius, 644 F.3d 388 (D.C. Cir. 2011) ............................................................ 41

Union Pac. R.R. Co. v Local #1409, United Transp. Union, No. Civ. A. 03-2600, 2004
 WL 3106757 (D. Kan. Jan. 18, 2004) ............................................................................... 29

Union Pac. R.R. Co. v. Sheehan, 439 U.S. 89 (1978) ........................................................ 25

United Air Lines, Inc. v. Air Line Pilots Ass’n, 563 F.3d 257 (7th Cir. 2009)............... 31


                                                                        v
            Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 7 of 71



United Air Lines, Inc. v. Int’l Ass’n of Machinists, 243 F.3d 349 (7th Cir. 2001) ....... 31

United Mine Workers v. Gibbs, 383 U.S. 715 (1966) ......................................................... 55

United Transp. Union, Local Lodge No. 31 v. St. Paul Union Depot Co., 434 F.2d
 220 (8th Cir.1970), ................................................................................................................ 50

Virginian Ry. v. System Fed'n No. 40, 300 U.S. 515 (1937) ............................................ 61

Westmoreland Coal Co., Inc. v. Int’l Union, United Mine Workers of America, 910
 F.2d 130 (4th Cir. 1990) ...................................................................................................... 61

Winter v. Natural Resources Defense Council, ,555 U.S. 7 (2008) ................................. 42

Statutes

29 U.S.C. § 101. ..................................................................................................................... 2, 33

29 U.S.C. § 104 .......................................................................................................................... 33

29 U.S.C. § 106 .......................................................................................................................... 34

29 U.S.C. § 107 .......................................................................................................................... 34

29 U.S.C. § 108 .......................................................................................................................... 36

45 U.S.C. § 152 .......................................................................................................................... 38

45 U.S.C. § 152, First,.............................................................................................................. 47

45 U.S.C. § 152, Seventh ......................................................................................................... 43

45 U.S.C. § 153, First ......................................................................................................... 25, 26

45 U.S.C. § 184 .................................................................................................................... 24, 26

45 U.S.C. § 156 .......................................................................................................................... 43

Other Authorities

C. Wright, A. Miller, & M. Kane, Federal Practice and Procedure § 2948 (2d
  ed.1995) ............................................................................................................................. 41, 59

F. Frankfurter & N. Greene, The Labor Injunction 5-17 (1930).................................... 33




                                                                      vi
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 8 of 71




                               I. INTRODUCTION

      This is an action for preliminary injunctive relief under the Railway Labor

Act, 45 U.S.C. § 151 et seq. (“RLA”) brought by Plaintiffs Atlas Air, Inc. and Polar

Air Cargo Worldwide, Inc. (collectively “Atlas,” the “Company,” the "Carrier," or

"Plaintiffs") against the International Brotherhood of Teamsters, Airline Division

(“IBT” or “IBTAD”) and the Airline Professionals Association of the International

Brotherhood of Teamsters, Local No. 1224 (“IBT Local 1224”) (collectively “the

Pilots Union” or the “Union”). The IBT is the RLA exclusive collective bargaining

representative of the combined craft or class of pilots at Atlas. Atlas is an air

carrier under the RLA performing world-wide air cargo and military lift operations

from its headquarters in Purchase, NY.

      Atlas moves this Court pursuant to Fed. R. Civ. P. 65(a) for preliminary

injunctive relief against the Pilots Union for allegedly engaging in unlawful self-

help in breach of the RLA status quo by promoting a "slowdown" among Atlas pilots.

Despite the lengthy briefing and voluminous documents presented by Plaintiffs to

this Court, however, Plaintiffs have simply failed to demonstrate that any

disruption of the statutory status quo has actually occurred, let alone one that has

materially disrupted their operations. Rather, the instant ambush motion for

injunctive relief is simply a strategic move to "leverage" the pilots in labor

negotiations. Indeed, Plaintiffs' own evidence demonstrates that the new local union

administration's lawful, general efforts commencing in 2015 to step up enforcement

of the existing labor agreement greatly predated labor negotiations commencing in

                                         1
         Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 9 of 71



2016. The Carrier fails to demonstrate that any current enforcement of the labor

agreement is any different from the stricter approach taken by the new local union

administration in the past. In other words, there has been no material change from

that 2015 "status quo" - reducing the Carrier's claims here to a specious attempt to

quell lawful union behavior.

        Tellingly, rather than promptly making any claims about alteration of the

status quo at the commencement of labor negotiations in 2016, the Carrier waited

twenty months to institute this action on a disingenuous "emergency" basis,

burdening this Court with its belated claims for expedited equitable relief and

improperly attempting to embroil this Court in the labor relations between the

parties.

        At base, the Carrier presents an RLA "minor dispute" over whether an

improper "slowdown" has occurred within the meaning of the labor agreement. As

such, this Court has no subject matter jurisdiction to determine said minor dispute

but rather it must be determined by the parties' System Board of Adjustment in

arbitration. And, the Carrier has further failed to prove that the extraordinary

labor injunction they seek is the sole, practical means available to them under the

Norris LaGuardia Act ("NLGA"),1 which fundamentally deprives federal courts of

jurisdiction in "labor disputes" such as this one. Indeed, the Carrier's requested

preliminary injunction as drafted is wholly overbroad under federal labor law and

would violate the First Amendment.


1   29 U.S.C. §§101 et seq.

                                         2
      Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 10 of 71



                          II. STATEMENT OF FACTS


      Defendants are submitting numerous declarations with this submission, all

of which are comprehensive and incorporated herein by reference, and several of

which are rather lengthy because they cover a lot of ground. We are doing so

because Plaintiffs have alleged numerous claims against the Union and the Atlas

pilots. Each of the declarants is prepared to testify at the hearing next week. For

these reasons, we have declined not to burden the record with an even lengthier

summary of those declarations and facts than what follows here.

      1.    Plaintiffs Atlas Air, Inc. (Atlas) and Polar Air Worldwide Cargo, Inc.

(Polar) are air carriers within the meaning of the RLA, 45 U.S.C. § 181 and function

as a “single transportation system” under the RLA for purposes of labor relations

involving their pilot group. Plaintiffs engage in world-wide air cargo operations

from their headquarters in Purchase, New York. Their corporate histories are set

forth in the attached Declaration of Captain Daniel Wells, who worked first for

Polar’s predecessor, then Polar and now, Polar, as a B-747 captain since 1999.

Captain Wells, who is also the current president of Defendant Airline Professions

Association of the International Brother of Teamsters, Local Union No. 1224 (“Local

1224”), previously served in various management positions with Polar’s predecessor.

See Declaration of Daniel C. Wells, attached hereto as Exhibit 35 (Wells Dec.) ¶¶ 2-

5.

      2.    Defendant International Brotherhood of Teamsters and its Airline

Division (the “IBT;” together with Local 1224, the “Union”), is a labor organization

                                         3
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 11 of 71



and is the exclusive bargaining “representative,” as such term is defined by Section

1, Sixth of the Railway Labor Act (“RLA”), 45 U.S.C. § 151, Sixth, of the pilots

employed by Defendants. The National Mediation Board (“NMB”) certified the IBT

as the exclusive representative of the craft or class of Pilots in the employ of the

Defendants as a single employer on December 22, 2008 in Case No. R-7174. The

IBT has delegated to Local 1224 the exclusive responsibility of providing day-to-day

representation to the IBT-represented pilots employed by Atlas.                  Daily

representative responsibilities for the Atlas pilots are managed by a five-person

board known as the Atlas Pilots Executive Council (the “Atlas EXCO”). See

Declaration of Captain Robert Kirchner, attached hereto as Exhibit 2 (“Kirchner

Dec.”) ¶¶ 5-6.

      3.     As noted above the Union was certified as the exclusive bargaining

representative of Plaintiffs’ pilots in late 2008. Since 2011, Atlas and Polar have

continued to operate separately under their own operating certificates and

authorities but the pilots who fly their aircraft work under one collective bargaining

agreement (SCBA) and one seniority list. The SCBA was imposed on the parties by

a third-party arbitrator. Moreover, despite the fact that both Atlas and Polar are

collectively referred to as the “company” under the CBA, the pilots who operate

their aircraft pursuant to the SCBA are all employees of Atlas. See Wells Dec. ¶¶ 6-

8; Kirchner Dec. ¶¶ 6-11.




                                          4
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 12 of 71



      4.     Pertinent facts concerning the bargaining relationship are set for in

the declarations of Captain Wells and Captain Kirchner. See Wells Dec. ¶¶ 9-10;

Kirchner Dec. ¶¶ 6-21.

             A.    Of particular note here, is that the bargaining relationship

between the parties since the imposition of the SCBA in 2011 has been one in which

Atlas incessantly ignores, bends and even violates the SCBA whenever it considers

that it is in its interests to do so. Shortly after the SCBA was imposed in 2011, the

Union and the Atlas pilots sought to work collaboratively with Atlas management to

help find contractual solutions to Atlas’s increasingly complex and expanding flight

operations issues. As time went on, however, the Atlas pilots became increasingly

frustrated with Atlas management and concluded that Atlas was more inclined to

violate the SCBA than work with them. By mid-2014, as an industry-wide pilot

supply problem grew into a looming crisis, many Atlas pilots grew so frustrated

with Atlas that they began to leave in large numbers to secure better employment

opportunities with other carriers. At the same time those Atlas pilots that

remained began to clamor for more effective contract enforcement by the Union. See

Wells Dec. ¶¶ 9-13; Kirchner Dec. ¶ 21.

             B.    In the fall of 2014, shortly before Kirchner was elected chairman

of the Atlas EXCO, Captain Jeffrey Carlson who is an executive employed by

Plaintiffs and their parent company, Atlas Air Worldwide Holdings, Inc. (AAWW)

invited Captain Kirchner to dinner. At that dinner, Captain Carlson told Captain

Kirchner that he felt that Captain Kirchner would be elected as the next chairman



                                          5
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 13 of 71



of the Atlas EXCO and that he wanted to know how the two of them and the Union

and Atlas could work together. Captain Kirchner told Captain Carlson that the

recipe for a cooperative and professional relationship between the Union and Atlas

was simple, and that he and the Union would insist on strict contract compliance by

both sides, meaning by both Atlas and the Union. Captain Kirchner explained that

strict contract compliance was his top priority if he was elected chairman of the

Atlas EXCO for a term commencing on January 1, 2015. Captain Kirchner also told

Captain Carlson that he recognized that strict contract compliance was a “two-way

street,” and that it “works both ways,” meaning that he fully understood that on

occasion strict contract compliance could actually work against the individual needs

of certain Atlas pilots in any particular instance. Captain Kirchner insisted that

both parties had to live by the terms of the SCBA and that his priority of ensuring

strict contract compliance was based in no small part on the growing frustration

and resentment by the pilots towards Atlas because of Atlas’s failure to honor the

SCBA, especially with the increasingly chaotic scheduling changes that were

disrupting the pilots’ lives. In response, Captain Carlson told Captain Kirchner

that strict, bi-lateral, contract compliance “should be no problem.” By his response,

Captain Kirchner understood that Captain Carlson was indeed committing to

ensuring that a cooperative and mutually beneficial relationship between Atlas and

the Union and Atlas pilots Union would be based on strict bilateral contract

compliance. See Kirchner Dec. ¶ 22.




                                          6
        Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 14 of 71



             C.    After Captain Kirchner was elected chairman of the Atlas EXCO

and assumed office on January 1, 2015, it quickly became apparent that Atlas

would not honor its commitment of strictly complying with the SCBA. As a result,

the Union, which has never deviated from it’s the strict contract compliance stance

that it had announced starting in late 2014, was forced to continue chasing down

grievances and other pilot complaints involving Atlas’s contract transgressions,

particularly those relating to scheduling and scheduling related matters. See

Kirchner Dec. ¶¶ 23, 25.

        5.   When he assumed office as chairman of the Atlas EXCO, Captain

Kirchner had to grapple with two other critical points, namely, the fact that Atlas’s

and Polar’s operations were rapidly changing and indeed transforming into very

different carries than they had traditionally been and that transformation was

occurring while the worldwide supply of pilots dwindled significantly, such that

Atlas’s and Polar’s prior scheduling and staffing models were neither adequate nor

even appropriate for the carriers’ fast changing business models. See Kirchner Dec.

¶ 24.

             A.    With respect to the carriers’ rapidly changing business models,

Captain Kirchner and Captain Wells on several occasions met with Plaintiffs’ and

AWWW’s executives to discuss the problems and impact those changes were having

on the pilots. The suggested and requested the parties negotiate changes to the

SCBA to accommodate the carriers’ transformation into different types of carriers




                                          7
      Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 15 of 71



than the SCBA contemplated. Plaintiffs repeatedly reject those suggestions and

requests. See Kirchner Dec. ¶ 22; Wells Dec. ¶ 9.

             B.    With respect to the pilot demographic issues pertaining to the

Atlas pilots, Captain Kirchner recognized that, due to the grueling and usual nature

of Atlas’s scheduling requirements, the Atlas pilots have limited opportunity to

congregate to discuss union business.    Moreover, he recognized that even while

working and flying their lines, Atlas crews are rarely paired together for more than

a single leg, as their schedules and constant subsequent schedule changes fracture

crew unity upon landing at their first destination. Thus, as the operations tempo

has dramatically had steadily increase at Atlas and Polar, and as younger, newly

hired domestic carrier pilots who are used to more traditional and personal means

of union communications were joining the Atlas ranks, the pilots were complaining

about not having enough information particularly when they are working around

the globe. As a result, when he took office in January 2015, Captain Kirchner

directed that the Atlas pilots’ Communications Committee prepare several new

methods of communication with our crewmembers.            One of the methods of

communication which was developed was a podcast called the Atlas Teamsters

Action Message (ATAM). The ATAM, is produced and narrated by Captain Michael

Griffith, the chairman of the Atlas pilots’ Communications Committee, is an audio-

broadcast parodying radio talk radio shows. Its purpose is to educate and entertain

the Atlas pilots, many of whom, as previously noted, were very new pilots at Atlas,

about their rights and responsibilities under the SCBA. Captain Kirchner told the



                                         8
      Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 16 of 71



Atlas pilots in the ATAM inaugural message that all of the Atlas pilots had to

dedicate themselves to enforcing and guarding the SCBA, and that they all had to

defend the SCBA and fight back against a management that was abusing

contractual rights and thereby making working conditions miserable. From that

point on, the Atlas EXCO made it a top priority to educate the Atlas pilots about the

terms of the SCBA and to provide them with the knowledge to know when Atlas is

violating the contract and what to do about it when Atlas does violate the contract.

Captain Kirchner and the Atlas EXCO made no secret about their educational

program and their insistence upon strict, bilateral contract compliance, and have on

numerous occasions advised Atlas management that they would not tolerate Atlas’s

deliberate violations of the SCBA.      As descried in greater detail in Captain

Kirchner’s and Captain Well’s declaration, the Atlas EXCO’s related programs of

strict contract compliance and pilot education have continued without interruption

since January 2015. See Kirchner Dec. ¶¶ ; Wells Dec. ¶ 11.

      6.     As further described in Captain Well’s and Captain Kirchner’s

declarations, Plaintiffs are as uncomfortable with a union-educated workforce as

they are operating under a union contract. In late December, while its operational

weakness had become apparent, and in response to unfavorable media attention

regarding those weaknesses and its potential impact on its new E-commerce

partner, Amazon, Atlas sent a letter to Local 1224 accusing the Atlas pilots of

engaging in a slowdown consisting of sickouts and refusal accept voluntary open

time in violation of a purported past practice.       Atlas not only neglected to



                                         9
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 17 of 71



substantiate its accusation but it refused to provide Local 1224 with any

substantiating details even after Captains Wells and Kirchner asked for such

information immediately upon receiving Atlas’s demand letter.         Atlas’s Captain

Carlson instead said only that his bosses were upset about the recent media

attention concerning Atlas’ operations and Amazon.           Atlas’s president, John

Dietrich said only that Atlas would provide Local 1224 details at some time in the

future not as part of a meeting with Local 1224 but instead in “appropriate forum,”

which, based on the December 17, 2016 letter, was intended only as a threat of legal

action. Six months later, Atlas’s counsel told Local 1224’s counsel that Atlas “knew”

that the Atlas pilots were engaged in a slowdown, and asked that Local 1224’s

counsel tell Local 1224 that Atlas knew this and wanted Local 1224 to tell the Atlas

pilots to stop it. Atlas’s counsel did not explain the basis of his client’s knowledge,

thereby recreating a scene reminiscent of Kafka’s The Trial. Whatever literary or

cinematic value these unsubstantiated claims and not-so-veiled threats by Atlas

and their counsel certainly not arise to the level of a serious, cooperative discussion

as required by the RLA to ensure that bargaining parties resolve their differences

without resort to the federal courts. See Wells Dec. ¶ 17.

      7.     Between June and the end of September, 2017, Atlas did not repeat its

accusations of a pilot slowdown. On September 25, 2017, however, Plaintiffs filed

and served an 82-page complaint with well over a thousand pages of declarations

and exhibits, including an 86-page declaration by Captain Carlson and a 95-page

report by an economist with a PhD. claiming that the Union and Atlas pilots are



                                          10
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 18 of 71



engaged in an illegal slowdown and seeking a preliminary injunction to stop it. As

set forth in the Complaint and Motion for Preliminary Injunction, Plaintiffs claim

that the alleged slowdown conduct includes: (1) more frequently calling off sick on

the day of scheduling flying; (2) more frequently calling off flights because of

fatigue; (3) refusing to volunteer for or accept open time (i.e., overtime) flying; (4)

delaying flight departures by “Blocking Out On Time”; (5) writing up unusually

high numbers of maintenance issues on aircraft; and (6) refusing to depart due to

rejected crew meals.    Plaintiffs claim that the Union “designed these concerted

activities to cause maximum disruption to Atlas’ operation and thereby exert

pressure on Atlas to capitulate in collective bargaining.” The Complaint contains

numerous examples involving unnamed pilots from unidentified flights whose sick

calls and fatigue calls Plaintiffs assert support their claim that the Union and the

Atlas Pilots are engaged in a slowdown. Plaintiffs also rely on their economist’s

report to support their claims regarding the sick and fatigue calls, as well as the

four other items noted above. See generally Complaint filed by Plaintiffs.

      8.     Within the very abbreviated timeframe in which they have been

afforded to defend themselves against a complaint and so-called emergency motion

that clearly took many months to develop, the Union has tracked down nearly every

pilot who is identified in the Complaint whose sick and fatigue calls Plaintiffs assert

support their claim of a slowdown. The attached declarations from those pilots tell a

very different story than Plaintiffs would have this Court believe.       The Union’s

research is described in the Declarations of Captain Kirchner, Captain James



                                          11
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 19 of 71



Green, Captain Kevin McCabe and Captain Laurie Ruiz de Castilla. The individual

pilots’ declarations are listed in the chart of declarations found at the end of this

statement of facts. See Kirchner Dec. ¶¶ 26-27; Declaration of James Greene

(“Greene Dec.”), attached hereto as Ex. 24, ¶¶ 3-8; Declaration of Kevin McCabe

(“McCabe Dec.”), attached hereto as Exhibit 4, ¶ 26; Declaration of Lauri Ruiz de

Castilla (“Ruiz Dec.”), attached hereto as Exhibit 5, ¶ 8.

             A.     With respect to Plaintiffs’ sick call claims, a particularly

memorable incident is described by an Atlas pilot, a First Officer whose declaration

is attached, who explains that Plaintiffs incorrectly claimed that the Captain of the

flight in question called off sick “at the absolute last possible time.”   The First

Officer explains that he is the one actually described in the Complaint. He explains

that the reason for his sick call was because he became nauseous while performing

his pre-check duties in an un-air conditioned cockpit of the aircraft in which the

temperature rose to well over 100 degrees. The First Officer ended up violently sick

and began projectile vomiting before the Captain was able to ensure that he was

removed from the plane and received proper attention.          For her actions, the

Captain, whose declaration is also attached, was wrongly accused by Plaintiffs in

the Complaint and was “treated” the next day with the responsibility of operating

the same aircraft even though Plaintiffs had not even bothered to clean up the

mess. See Declarations of Robert Molloy and Jennifer Metzler.




                                          12
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 20 of 71



      Another pilot, whose declaration is also attached, suffered from an acute

attack of gout that left him hardly able to walk, let along operate the controls of an

aircraft. See Declaration of Daniel Pocock.

      Another pilot, a probationary pilot who is therefore not yet able to secure full

contractual protections should Plaintiffs now decide to terminate him for stepping

forward in this case, explains that although he is one of the pilots identified in the

Complaint accused of having improperly called off sick, he never called off sick at all

on that flight. He forthrightly explains that he made a mistake reading the plane’s

departure time, not converting local time to “Zulu” or universal time. His mistake

caused the delay of his flight and he told Plaintiffs’ scheduling department that he

had made that mistake. Plaintiffs’ scheduling department incorrectly marked him

off, without his knowledge or consent, as “sick.”        Plaintiffs are now seeking

capitalize on their own mistake in this regard by using it and citing it as an

example of untoward activity by the Atlas pilots and the Union. See Declaration of

Terry Glover.

      Yet another pilot identified in the Complaint in support of Plaintiffs’ sick call

“evidence” and whose declaration is also attached, called off sick because he was

distraught over recent news concerning his wife’s medical condition.               See

Declaration of Gonzalo Quiros-Callejon.

      As the attached declarations from these pilots accused of improperly calling

off sick as part of a concerted slowdown show, Plaintiffs’ claims regarding an alleged

concerted sick out by the pilots is patently absurd. Captain Greene, an Atlas pilot



                                          13
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 21 of 71



who is also a Union representative familiar with Plaintiffs’ scheduling programs,

has also submitted a declaration regarding the sick call claims set forth in the

Complaint. He too describes a factual story that differs markedly from the tales

spun by Plaintiffs. The declarations by these pilots demonstrate that the sick call

outs that Plaintiffs claim are evidence of a concerted sick call slowdown are in fact

examples of individual pilots who simply were sick or were mischaracterized as sick

by Plaintiffs. See Greene Dec.

             B.     With respect to the Plaintiff’s fatigue call out claims, again, the

declarations filed by the pilots identified in the Complaint, as well by Captains

McCabe and Ruiz de Castilla, two highly regarded and experienced Atlas captains

who serve on and work with the Atlas’s joint labor-management Fatigue Risk

Management Committee (“FRMC”), all tell a very different story than Plaintiffs

would have this Court believe. Like the declarations of pilots accused by Plaintiffs of

improperly calling off sick, the pilots accused of falsely calling off fatigued did not

engage in a concerted plot to disrupt Plaintiffs’ operations: they each had their own,

individual reasons for calling off fatigued, and all of them were legitimate.

Moreover, all but two of them submitted Fatigue Reports to the FRMC and all of

them were accepted as legitimate.      The two pilots who did not submit fatigue

reports also explain the reasons why they called off fatigued from their flights.

Their fatigue call outs, however, are no different than any of the hundreds of other

fatigue call outs that have been addressed and accepted as legitimate by the FRMC.

See McCabe Dec.; Ruiz Dec.; and Declarations of Amanda Kolaric, Antonio Santos,



                                          14
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 22 of 71



Christopher Viertel, Conway Shaw IV, Daniel Lennox, Gerad Riester, Gregory

Samson, Kristofer Lang, Mitchell Simon, Peter Baranko, Robert Bellman, Samuel

Hoffman, Mike Nolting, Maria Montgomery, and Michael Griffith.

      Likewise, Professor Terry von Thaden, a well-known fatigue risk expert in

the aviation industry and whose report also accompanies this submission, explains

the science of fatigue and its impact on real, live, human beings, not statistical data

points. See Declaration of Terry L. Von Thaden, Ph.D, attached hereto as Exhibit

33.

             C.     Plaintiffs rely on their economist, Dr. Lee, to prove all of their

slowdown claims against the Union and accusations against the Atlas pilots. As

explained by highly regarded aviation labor economist and consultant Dan Akins’s

report, however, a copy of which also accompanies this submission, Dr. Lee’s

statistical analysis is significantly flawed. In his report, Akins explains that “none

of Dr. Lee’s conclusions are logically sound, statistically valid or meaningfully

impactful on the Atlas operation.” He addresses each of each of Dr. Lee’s points in

his detailed report, and exposes many of the flawed methods used by Dr. Lee. See

Declaration of Daniel Akins, attached hereto as Exhibit 3.

             D.     Along with this submission, Defendants are also submitting a

declaration from a Union representative, Captain Patrick Petersen, who explains

the catering problems that have plagued Plaintiffs’ operations for a very long time.

He explains Plaintiffs’ 2015 announcement to the Union that if any aircraft

departed with improper catering, the company would not consider any follow-on



                                          15
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 23 of 71



complaints about that catering to be a contractual grievance, thereby making it

incumbent on the pilots who are presented with improper catering to resolve the

issue before departing. Captain Petersen also describes in graphic detail several

incidents over the last few years in which pilots have gotten received catered meals

containing such tasty morsels as machine screws, hair and dirt on their meals. He

also describes several incidents in which Atlas pilots have gotten ill from food

poisoning after eating rancid meals provided by Plaintiffs catering vendors. As he

explains, the catering problems at Plaintiff’ airline are not new and the pilots’

reactions, i.e., behavior, has not dramatically changed over the last six months, as

alleged by Plaintiffs.   See Declaration of Patrick Petersen, attached hereto as

Exhibit 34.

              E.    The Union addresses Plaintiffs’ claims regarding the so-called

“BOOT campaign” and the increase in the number of aircraft mechanical write-ups

done by the pilots in Captain Kirchner’s declaration as well as Daniel Akins’ report.

See Kirchner Dec. ¶ 27.D; Akins Dec. ¶ IV.E.3. Dispatcher Dennis Gerber provides

background on the logistical complications raised by pilots blocking out early. See

Declaration of Dennis Gerber, attached hereto as Exhibit 32. We also note that the

declarations submitted by the pilots refuting Plaintiffs’ sick and fatigue claims also

highlight a significant number of mechanical problems with Plaintiffs’ fleets,

including the aircraft used by Plaintiffs to fly military passengers and cargo




                                          16
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 24 of 71



       F.    The Union also addresses Plaintiffs’ open-time flying claims in Captain

Kirchner’s, Captain Wells’s and Daniel Akins’s report. See Akins Dec. ¶ IV.D.4-8;

Kirchner Dec. ¶¶ 27.C.

       G.    Finally, the Union addresses Plaintiffs’ bootstrap allegations regarding

various communications, some controlled by Local 1224 and other that are not, are

addressed by Captain Kirchner and Captain Griffith. See Declaration of Michael

Griffith, attached hereto as Exhibit 36; Kirchner Dec. ¶¶ 27.C.

The following is a list of declarants:

Name                                 Ex #    Brief Description of Testimony
Daniel W. Akins                      3       Expert    testimony     regarding   Company’s
                                             statistical analysis, and airline industry.
Terry L. Von Thaden, Ph.D            33      Expert testimony regarding fatigue claims
                                             and FRMP.
Captain Robert Kirchner              2       Testimony regarding company operations,
                                             bargaining relationship, CBA issues,
                                             slowdown allegations, communications, and
                                             Plaintiffs’ failure to cooperate in attempting
                                             to resolve the current dispute prior to
                                             filing its complaint and motion
Captain Daniel Wells                 35      Testimony regarding Plaintiffs’ corporate
                                             background and operations, including
                                             Plaintiffs’ operational changes and pilot
                                             demographic           changes,      bargaining
                                             relationship,
                                             Plaintiffs’ slowdown claims, and Plaintiffs’
                                             failure
                                             to cooperate in attempting to resolve current

                                            17
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 25 of 71



                                          dispute
                                          without resort to federal litigation
Captain Kevin McCabe                4     FRMP and Fatigue callout claims
Captain Laurie Ruiz de Castilla     5     FRMP and Fatigue callout claims
Captain Patrick Petersen            34    Crew meals claims
Captain James Greene                24    Sick callout claims overview
Dennis Gerber                       32    Dispatch and delayed departure claims
Captain Michael Griffiths           36    Fatigue callout claims and communications
Captain Peter Baranko               6     Fatigue callout claims
Captain Robert Bellman              7     Fatigue callout claims
First Officer Samuel Hoffman        8     Fatigue callout claims
First Officer Amanda Kolaric        9     Fatigue callout claims
Captain Kristofer Lang              10    Fatigue callout claims
Captain Daniel Lennox               11    Fatigue callout claims
First Officer Maria Montgomery      12    Fatigue callout claims
Captain Michael Nolting             13    Fatigue callout claims
First Officer Gerad Riester         14    Fatigue callout claims
Captain Gregory Samson              15    Fatigue callout claims
First Officer Antonio Santos        16    Fatigue callout claims
First Officer Conway Shaw, IV       17    Fatigue callout claims
Captain Mitchell Simon              18    Fatigue callout claims
First Officer Christopher Viertel   19    Fatigue callout claims
Captain Ian DePledge                20    Fatigue callout claims
First Officer Benjamin French       21    Fatigue callout claims
First Officer Edward Ojeda          22    Fatigue callout claims
First Officer Terry Glover          23    Sick callout claims
First Officer Tyson Howard          25    Sick callout claims
First Officer Robert Molloy         26    Sick callout claims
Captain Jennifer Metzler            27    Sick callout claims

                                         18
      Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 26 of 71



First Officer Drue Overby      28    Sick callout claims
First Officer Daniel Pocock    29    Sick callout claims
First Officer Gonzalo Quiros- 30     Sick callout claims
Callejon
First Officer Tai Sanchez      31    Sick callout claims




                                    19
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 27 of 71



                                 III. ARGUMENT

      A. The Court Lacks Subject Matter Jurisdiction Because Plaintiffs'
         Claims Present a "Minor Dispute" Concerning Interpretation of the
         CBA

          1. The Carrier's Claim of a "Slowdown" is Cognizable Under the
             CBA

      In this action, the Carrier improperly invites this Court to hear and decide

whether the Union engaged in a concerted "slowdown." The Pilots Union disputes

that any such concerted "slowdown" exists. But in Section 26.X of the labor

agreement, the following language expressly defines the rights of the parties on this

subject as follows:

      X. PICKET LINES
      The Union, through its Atlas Air, Inc. Executive Council, agrees that
      during the term of the Agreement there will not be any complete or
      partial strikes, picketing, slowdowns, unfair labor practice strikes,
      refusals to cross picket lines, sympathy strikes, work stoppages,
      secondary boycotts, withholding of services in whole or in part,
      concerted refusal to work normal overtime, or other cessation of work of
      disturbances economic or otherwise unless and until the parties' rights
      to self-help mature under the Railway Labor Act, provided, however,
      that nothing herein shall be construed to limit the Union's right to
      engage in otherwise lawful informational picketing. This paragraph
      shall not alter or limit the Company's right, if any, to obtain a court
      order enjoining such conduct by the Union and or the Crewmembers
      both collectively and individually. Nothing in this paragraph shall be
      construed, however, to limit the rights of the Union or the Atlas
      Crewmembers to refuse to cross lawful strike picket lines established
      by or on behalf of pilots represented by any union lawfully certified or
      recognized pursuant to the Railway Labor Act.

      (Emphasis added).

      Moreover, to resolve this "slowdown" dispute, the Carrier has an express

right to file a "Company grievance" under the CBA and arbitrate the matter before


                                         20
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 28 of 71



the parties' System Board of Adjustment as provided in Section 20.D.             That

provision states as follows:

      D.     COMPANY GRIEVANCES

      In the case of a grievance initiated by the Company (a "Company
      grievance"), the Company shall submit the Grievance to the Union in
      writing or by electronic mail. The Company grievance shall conform
      with the timeliness and formal requirements set forth in subsection
      20.B.1.a, above. The Company may file a grievance only over the
      interpretation or application of the Agreement. Within thirty (30) days
      of submission of a Company grievance, a Union official designated by
      the Union will meet with the Company's Vice President of Flight
      Operations and the Company's senior official responsible for
      Crewmember labor relations, or their designees, to discuss the matter.
      If the grievance cannot be resolved as a result of this meeting then
      within thirty (30) days following such meeting, the grievance may be
      appealed by the Company to the Board by filing a notice of appeal to
      the Board on or before the thirty-first (31) day following the meeting.
      Such appeals shall conform to the requirements set forth in 20.B.3.a.,
      above, except the notice of appeal shall be filed with a Union official
      designated by the Union.

      The Carrier's claims here thus fall under the express terms of the labor

agreement in Section 26. The Carrier can file a grievance to resolve its claims under

Section 20.D, and, by virtue of Section 21.B.3, such a "Company grievance"

therefore lies within the jurisdiction of the parties' System Board of Arbitration for

"final and binding" arbitration award. This Court accordingly lacks subject matter

jurisdiction over this "minor" dispute. The Court is therefore precluded from

reaching the merits herein.

      For, under the RLA, disputes between employers and employees are

characterized as either “major” or “minor” disputes. Major disputes are those that

involve the formation or amendment of collective bargaining agreements. See



                                         21
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 29 of 71



Hawaiian Airlines, Inc. v. Norris, 512 U.S. 246, 252 (1994); Consol. Rail Corp. v.

Ry. Labor Executives’ Ass’n, 491 U.S. 299, 302-03 (1989) (hereinafter “Conrail”);

Elgin, J. & E. Ry. Co. v. Burley, 325 U.S. 711, 723-24 (1945). Minor disputes

“‘relate[] either to the meaning or proper application of a particular provision’” of a

collective bargaining agreement, Conrail, 491 U.S. at 303 (quoting Burley, 325 U.S.

at 723), “‘in a particular fact situation.’” Norris, 512 U.S. at 252-53 (quoting Bhd. of

R.R. Trainmen v. Chicago River & Ind. R.R. Co., 353 U.S. 30, 33 (1957)).

      All that is required for a dispute to be characterized as a "minor" dispute is

that a party’s conduct is “arguably justified” under the terms of the collective

bargaining agreement. See Conrail, 491 U.S. at 307, 310; Bhd. of Locomotive Eng’rs

v. Louisville & Nashville R.R. Co., 373 U.S. 33, 36-39 (1963); Ass’n of Flight

Attendants v. USAir, Inc., 24 F.3d 1432 (D.C. Cir. 1994) (minor dispute if “arguably

justified,” major only if “claims are frivolous or obviously insubstantial.”). Indeed,

under the RLA, “[t]here is a strong presumption in favor of finding a dispute to be

minor.” Burley, 325 U.S. at 723 (citation omitted); Oakey v. U.S. Airways Pilots

Disability Income Plan, 839 F. Supp.2d 225, 231 (D.D.C. 2012), aff'd, 723 F.3d 227

(D.C. Cir. 2013), cert. denied, 134 S. Ct. 1513, 188 L. Ed. 2d 449 (2014). “[I]f doubt

arises about the classification of a dispute, the dispute is also considered to be

minor.” Bhd. of Maintenance of Way Employes Div./IBT v. National R.R. Passenger

Corp., 217 F. Supp. 3d 249 (D. D.C. 2016); Bhd. of Maint. of Way Empls. v.

Burlington N. Santa Fe R.R., 270 F.3d 637, 639 (8th Cir. 2001).

      Section 204 of the RLA, 45 U.S.C. §184, squarely places upon the parties “the



                                          22
      Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 30 of 71



statutory duty of establishing and utilizing system, group, or regional boards of

adjustment for the purpose of adjusting and deciding” minor disputes. Int’l Ass’n of

Machinists v. Cent. Airlines, Inc., 372 U.S. 682, 686 (1963). The RLA requires that

such boards hear and decide minor disputes to minimize “interruptions in the

Nation’s transportation services by strikes and labor disputes.” Id. at 687. As a

result, the courts have no jurisdiction over minor disputes, which must be submitted

to a contractual grievance process, and, absent resolution, to binding arbitration

before a system board of adjustment established pursuant to RLA Section 204. Bhd.

of Locomotive Eng’rs v. Louisville & Nashville R.R., 373 U.S. 33, 36-38 (1963);

Brown v. Illinois Central R.R. Co., 254 F.3d 654, 658 (7th Cir. 2001); Everett v.

USAirways, 132 F. 3d 770 (D.C. Cir. 1998) (ERISA claim preempted as minor

dispute); Bhd. of Maintenance of Way Employees Div./IBT v. National R.R.

Passenger Corp., 217 F. Supp. 3d 249 (D.D.C. 2016); see also Conrail, 491 U.S. at

303-04.

      As this Court recently held in Brotherhood of Maintenance of Way Employees

Division/IBT v. National Railroad Passenger Corporation:

      “Federal courts are courts of limited jurisdiction. They possess only
      that power authorized by Constitution and statute ....” Kokkonen v.
      Guardian Life Ins. Co. of Am., 511 U.S. 375, 377, 114 S.Ct. 1673, 128
      L.Ed.2d 391 (1994). Congress has the “prerogative to restrict the
      subject-matter jurisdiction of federal district courts” based on the types
      of claims brought by particular plaintiffs. Arbaugh v. Y & H Corp., 546
      U.S. 500, 515 n.11, 126 S. Ct. 1235, 163 L.Ed.2d 1097 (2006). Congress
      has restricted the subject-matter jurisdiction of courts adjudicating
      certain cases under the RLA. See 45 U.S.C. § 153 First (q); Union Pac.
      R.R. Co. v. Sheehan, 439 U.S. 89, 93, 99 S.Ct. 399, 58 L.Ed.2d 354
      (1978); accord Consol. Rail Corp. v. Ry. Labor Execs.' Ass'n, 491 U.S.
      299, 304, 109 S.Ct. 2477, 105 L.Ed.2d 250 (1989). When it comes to

                                         23
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 31 of 71



      “minor disputes” under the RLA—which concern the interpretation of
      contractual rights—the district courts have only limited review after
      the National Railroad Adjustment Board has issued an arbitral
      decision. See Consol. Rail Corp., 491 U.S. at 302–04, 109 S.Ct. 2477.

      Id. at 255.

      The D.C. Circuit has squarely held that the RLA, in its provisions on

mandatory arbitration in 45 U.S.C. § 184 and 45 U.S.C. § 153 pertaining to

railroads and airlines, respectively, “clearly states” that the arbitration requirement

is jurisdictional, expressly “ ‘speak[ing] in jurisdictional terms.’ ” Oakey v. U.S.

Airways Pilots Disability Income Plan, 723 F.3d 227 (D.C. Cir. 2013)(applying

Arbaugh v. Y & H Corp., 546 U.S. 500, 514 (2006), and expressly rejecting the Sixth

Circuit's opinion in Emswiler v. CSX Transportation, Inc., 691 F.3d 782, 788 (6th

Cir. 2012), the only circuit decision to hold that RLA Section 204's arbitration

requirement is not jurisdictional).

       Plainly, then, the issue of whether the Pilots Union engaged in any

 "slowdown," or "withholding of services in whole or in part," or "concerted refusal

 to work normal overtime," or "other cessation of work of disturbances economic or

 otherwise" under CBA Section 26.X is an issue expressly committed by the parties

 to arbitration before the System Board of Adjustment. Moreover, the Pilots Union's

 position that 1) no such slowdown occurred, 2) stricter enforcement of the

 agreement became the new status quo practice of enforcement under the CBA, 3)

 the Carrier acquiesced to this practice, 4) and that its members were privileged to

 do so, serve as an “arguably justified” bases under the terms of the collective

 bargaining agreement so as to render the dispute "minor." Conrail, 491 U.S. at

                                          24
           Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 32 of 71



    307.

            Fundamentally, the System Board of Adjustment must also determine if

    CBA Section 26.X permits concerted activity after "the term of the Agreement"

    (which has concededly passed here) and, correlatively, whether by virtue of this

    prohibition on such activity predicated on the "duration" 2 of the agreement, the

    Carrier waived the statutory right to insist on maintenance of the status quo, or to

    an injunction, after this period. See, Int'l Bhd. of Teamsters, etc. Local 19 v.

    Southwest Airlines Co., 875 F.2d 1129, 1133 (5th Cir. 1989)(en banc)(waiver of 45

    U.S.C. § 152, First statutory right to mid-term bargaining subject to minor dispute

2 The "term of the agreement" under Section 26.X is governed by the CBA duration
clause which states:

           SECTION 34: DURATION

           This Agreement shall become effective [the date the arbitration award
           is signed by the arbitrator and received by the parties] and shall
           continue in force and effect until [five years from the date the effective
           date of the Agreement] and shall renew itself without change
           thereafter, unless written notice by either party of intended change is
           served in accordance with Section 6, Title I of the Railway Labor Act,
           as amended, no more than two hundred and seventy (270) days prior to
           or any time thereafter.

           (Emphasis added).

Arguably, the language proscribing self-help during the "term of the agreement" in
CBA implies that self-help after the "term of the agreement" is permissible, as it is
in the NLRA context. This is especially true because under the RLA, labor
agreements do not have a "term" but are instead simply amendable. The Pilots
Union negotiated a "term" which limits the duration of the prohibition on self-help.
Here, since a Section 6 notice was concededly sent by the Pilots Union, the
"duration" of the CBA ended. The System Board must determine if the Carrier
waived its right to insist on no self-help after the "term of the agreement" ended.
This is simply a matter of contract interpretation.



                                              25
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 33 of 71



 "arguably justified" test, and not to the NLRA "clear and unmistakable waiver"

 test of Metropolitan Edison Co. v. N.L.R.B., 460 U.S. 693, 707–08 (1983)). See also,

 CSX Transp., Inc. v. United Transp. Union, 395 F.3d 365, 369 (6th Cir. 2005)

 (waiver of statutory right to RLA Section 6 bargaining a "minor" dispute).

      Lastly, the System Board of Adjustment must also determine whether the

Carrier's failure to file a timely grievance renders its claims time barred under the

CBA as well. It is no wonder that having failed to advance it rights timely under the

CBA, that the Carrier seeks another "bite of the apple" with this Court.

      All of these arguably justified Pilots Union claims and defenses under the

terms of the CBA are "minor disputes" that are confined to the exclusive jurisdiction

of the parties' System Board of Adjustment. On this basis alone, the Court must

dismiss the request for preliminary injunctive relief on jurisdictional grounds.

         2. The Carriers Claim that the Pilots Discretionary Decisions not
            to Fly Fatigued, Not to Volunteer for Open Time, and to Not to
            Waive Minimum Equipment List or Other Contractual
            Shortcomings are Minor Disputes

      Moreover, courts have repeatedly recognized that under the "minor dispute"

regime of the RLA, they lack subject matter jurisdiction to hear these types of

Carrier claims. For instance, in Union Pac. R.R. Co. v Local #1409, United Transp.

Union, No. Civ. A. 03-2600, 2004 WL 3106757 (D. Kan. Jan. 18, 2004), the court

rejected a claim that Section 2, First of the Act had been violated and denied

injunctive relief where the carrier sought to require the union to prevent its

members from making “excessive use” of discretionary time off on weekends and

holidays in violation of agreed upon “staffing requirements.” Id. at *1 The court

                                          26
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 34 of 71



found that the “requested relief goes directly to the merits of this ‘minor dispute’”

and that it “lack[ed] subject matter jurisdiction over such claims.” Id. at *4 (citing

S. Ry. Co. v. Locomotive Firemen, 384 F.2d 323, 329 (D.C. Cir. 1997)). The court

explained that this doctrine “elevates the concept of exhaustion of administrative

remedies to a jurisdictional plane in requiring judicial abstention from labor

disputes that may only involve interpretive questions reserved for the Adjustment

Board.” Id.

      Here, Plaintiffs’ Section 2, First claim rests heavily upon Plaintiffs’ challenge

to t he U ni on’s l ong -sta ndi ng , educa ti onal efforts to inform the pilots it

represents of their rights and responsibilities under the CBA and to oppose aviation

safety and contractual waivers. As well, the Union has for years prior to the current

Section 6 bargaining advised the Atlas pilots that the contract’s voluntary o p e n

t i m e provision is not intended to provide Atlas with a means to avoid proper

scheduling and staffing. In response, Atlas attempted to adjust its scheduling,

hiring and manpower planning, apparently accepting the Union’s interpretation

rather than challenging it through the grievance process, which the Company has

the right to do under Section 20.A. and D. of the CBA.          The Union has also

repeatedly advised the Atlas pilots that individual pilot waivers can lead to erosion

of the present contract and safety requirements, and Plaintiffs have never

challenged that point through the grievance-arbitration process.

      Moreover, in the present case, as in ABX Air, Inc. v. Airline Professionals

Ass’n of the Int’l Brotherhood of Teamsters, Local No. 1224, 266 F.3d 392, 398 (6th



                                          27
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 35 of 71



Cir. 2001), the Court should deny the carrier’s injunction request because there has

been no “concerted interruption of operations,” but merely “higher operational costs

incurred by the necessary exercise of contract provisions.” Plaintiffs rely on the

supposed additional costs they have assertedly incurred rather than any actual

disruption to Atlas operations that have resulted from the pilots’ election not to

volunteer for overtime flying and their refusal to fly sick or fatigued or to waive

Minimum Equipment List and contractual shortcomings. These safety, overtime

flying and no-waiver issues present minor disputes, which fall within the exclusive

jurisdiction of the grievance-arbitration process.

       Plaintiffs rely heavily on decisions from the Seventh and Eleventh Circuits to

support their claim for injunctive relief under Section 2, First. United Air Lines, Inc.

v. Int’l Ass’n of Machinists, 243 F.3d 349 (7th Cir. 2001); United Air Lines, Inc. v. Air

Line Pilots Ass’n, 563 F.3d 257 (7th Cir. 2009); and, Delta Air Lines, Inc. v. Air Line

Pilots Ass’n, Int’l, 238 F.3d 1300 (11th Cir. 2001). In the first case, however, the

union made no argument that it had a “write-up” policy that was a long-standing

interpretation of the collective bargaining agreement left unchallenged by the

carrier. IAM, 243 F.3d 349. And in the two cases against ALPA, the courts rejected

that union’s argument that concerted refusal to accept overtime gave rise to a minor

dispute, finding an “implicit” understanding behind the contract that there would

always be some number of pilots who would accept overtime. S e e , e . g . , Delta,

238 F.3d at 1302-03, 1307. Here, by contrast, the Defendants’ positions have been

well   known     for   several   years,   and    Atlas   has    attempted,       albeit



                                           28
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 36 of 71



u n s u c c e s s f u l l y , t o adjust its staffing, hiring and scheduling models accordingly.

Moreover, in none of the cases upon which the Carrier relies did the employer have

an express provision of the labor agreement providing for arbitration over the

contested union actions, as here.3

       Because the underlying disputes over voluntary overtime and the pilots’

refusal to waive FAA safety standards and contractual requirements present minor

disputes outside the Court’s jurisdiction, the present disputes fail to support

Plaintiffs’ Section 2, First claim. ABX Air, 266 F. 3d at 398.

       B. The Court Lacks Subject Matter Jurisdiction over Plaintiffs'
          Claims under Section 8 of the Norris LaGuardia Act

       NLGA, Section 1 provides:

       § 101. Issuance of restraining                 orders     and     injunctions;
       limitation; public policy

       No court of the United States, as defined in this chapter, shall have
       jurisdiction to issue any restraining order or temporary or permanent
       injunction in a case involving or growing out of a labor dispute, except
       in a strict conformity with the provisions of this chapter; nor shall any
       such restraining order or temporary or permanent injunction be issued
       contrary to the public policy declared in this chapter.

       29 U.S.C. § 101.

       In Central Vermont Ry. v. Broth. of Maintenance, 793 F.2d 1298, 1299 (D.C.

Cir. 1986), the D.C. Circuit chronicled the history and purpose of the NLGA, as

follows:

       In the early decades of this century, the federal courts undertook the
       task of abating labor unrest, using various federal and state law

3 It is highly unusual in an RLA labor agreement in the airline industry to have a
"no strike" clause.

                                              29
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 37 of 71



      doctrines to enjoin workers from participating in concerted activities
      viewed as wrongful. See F. Frankfurter & N. Greene, The Labor
      Injunction 5-17 (1930). The choices about desirable public policy that
      judges necessarily made in applying these legal doctrines to the world
      of labor relations, however, came to be widely viewed as an exercise in
      judicial activism. The Congress, “intent upon taking the federal courts
      out of the labor injunction business,” Marine Cooks & Stewards v.
      Panama S.S. Co., 362 U.S. 365, 369, 80 S.Ct. 779, 783, 4 L.Ed.2d 797
      (1960), responded with the Norris-LaGuardia Act, Pub. L. No. 72-65,
      47 Stat. 70 (1932) (current version at 29 U.S.C. §§ 101-115 (1982)). The
      Act, a singularly powerful instrument, withdrew the federal courts'
      jurisdiction to enjoin numerous forms of self-help “in any case
      involving or growing out of any labor dispute....” 29 U.S.C. § 104
      (1982).

      Thus, the NLGA prohibits courts from issuing injunctive relief in labor

disputes. Int'l Ass'n of Machinists v. Street, 367 U.S. 740, 772 (1961) (“The [NLGA]

expresses a basic policy against the injunction of activities of labor unions.”). The

NLGA also generally prohibits a court from holding a union responsible for illegal

acts of the union members. 29 U.S.C. § 107(a) (“[N]o injunction or temporary

restraining order shall be issued on account of any threat or unlawful act excepting

against the ... organization making the threat or committing the unlawful act or

actually ratifying the same after actual knowledge thereof.”); 29 U.S.C. § 106 (“No ...

organization shall be held responsible or liable ... for the unlawful acts of individual

officers, members, or agents, except upon clear proof of actual participation in, or

actual authorization of, such acts, or of ratification of such acts after actual

knowledge thereof.”). The NLGA also prescribes procedural rules for civil

proceedings in which an employer seeks an injunction or TRO against its

employees. For an injunction, live testimony with opportunity for cross-examination

is normally required after proper notice. 29 U.S.C. § 107.

                                          30
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 38 of 71



      Although the prescriptions of the NLGA are clear, the NLGA “cannot be read

alone in matters dealing with railway disputes.” Bhd. of R.R. Trainmen v. Chicago

River & Ind. R.R. Co. (“Chicago River”), 353 U.S. 30, 40 (1957). Rather, “[t]here

must be an accommodation of [the NLGA] and the [RLA] so that the obvious

purpose in the enactment of each is preserved.” Id. Thus, while the NLGA usually

deprives federal courts of jurisdiction in general categories of labor disputes, federal

courts retain jurisdiction “to enjoin compliance with various mandates of the

[RLA].” Int'l Ass'n of Machinists v. Street, 367 U.S. 740, 772 (1961). However, this

exception for the RLA is limited, and an injunction usually may lie only if, in

addition to violation of a specific principle of the RLA, an injunction is the sole

practical, effective means of enforcing the Act. See Burlington N. R.R. Co. v. Bhd. of

Maintenance of Way Employees, 481 U.S. 429, 446 (1987); Alton & S. R. Co. v.

BMWE, 639 F. Supp. 220 (D. D.C. 1986).

      Thus, Section 8 of the NLGA, 29 U.S.C.A. § 108, provides:

      § 108. Noncompliance with obligations involved in labor
      disputes or failure to settle by negotiation or arbitration as
      preventing injunctive relief

      No restraining order or injunctive relief shall be granted to any
      complainant who has failed to comply with any obligation imposed by
      law which is involved in the labor dispute in question, or who has
      failed to make every reasonable effort to settle such dispute either by
      negotiation or with the aid of any available governmental machinery of
      mediation or voluntary arbitration.

      The D.C. Circuit has recognized that strict enforcement of Section 8 does “not

trammel, but ... rather further[s] the effectuation of that Railway Labor Act, for it

ensures compliance by complainant carrier or union which cannot seek an

                                          31
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 39 of 71



injunction until and unless it has discharged the obligations imposed by the

Railway Labor Act.” Bhd. of R.R. Trainmen v. Akron & Barberton Belt R.R., 385

F.2d 581, 614 (D.C. Cir. 1967); see also In re Dist. No. 1—Pac. Coast Dist., Marine

Eng'rs Beneficial Ass'n (AFL–CIO), 723 F.2d 70, 80 (D.C. Cir. 1983).


      Section 8 of the NLGA thus places a heavy burden on parties seeking a court

injunction in lieu of arbitration, mediation or agency action. It denies equitable

relief to “any complainant who has failed to comply with any obligation imposed by

law … or who has failed to make every reasonable effort to settle such dispute either

by negotiation or with the aid of any available government machinery of mediation

or voluntary arbitration.” 29 U.S.C. § 108 (emphasis supplied). This section’s

burden is often referred to as the “clean hands” requirement, although it broadens

the traditional equitable mandate; in addition to fulfilling its legal obligations, the

moving party “must also go beyond them and make all reasonable effort” including

trying to resolve the dispute through negotiation, mediation and arbitration.     Bhd.

of R.R. Trainmen, Enterprise Lodge, No. 27 v. Toledo, Peoria & W. R.R., 321 U.S.

50, 57 (1944).    Where they are available, in fact, all three methods must be

attempted to resolve the dispute before an injunction may be sought. Id. at 58.

(holding that the three resolution methods are to be employed “conjunctively or

successively” not “singly or alternatively”); see also Local 553, Transport Workers

Union v. Eastern Air Lines, 695 F.2d 668, 679 (2nd Cir. 1982)(finding movant union

met Section 8’s requirements by “participat[ing] in every statutorily mandated

step,” including negotiation and requesting arbitration and, further, by proffering


                                          32
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 40 of 71



other “creative proposals for resolving the problem”). Thus, Section 8 ensures that

injunctions are to be used only as a last resort, where that “remedy alone can

effectively guard the plaintiff’s right.” Int’ll Ass’n of Machinists v. Street, 367 U.S.

740, 772 (1961).


      Here, the Carrier as moving party has wholly failed to meet the showing that

an injunction is the sole practical, effective means of enforcing the Act. Indeed, its

lack of compliance with NLGA Section 8 wholly deprives this Court of jurisdiction.


      First, Atlas has failed to take the "reasonable effort" of attempting to first

resolve this dispute by discussing it with or even sharing information with the

union. Though the precise requirements of this "reasonable effort" obligation may

vary from case to case, there are “certain minimum steps” that are usually required:

      Unfair surprise should be avoided whenever possible. The
      representatives of management should meet with those of labor. Each
      side should listen to the contentions of the other side and each side
      should explain its position clearly and honestly, but not for as long a
      time as is customary in full-scale bargaining. In short, men of good
      faith must in good faith get together in a sincere effort to resolve their
      differences.

      Aircraft Serv. Int'l, Inc. v. Int'l Bhd. of Teamsters, 779 F.3d 1069, 1077 (9th

Cir. 2015)(citing Rutland Ry. Corp. v. Bhd. of Locomotive Eng'rs, 307 F.2d 21, 41

(2d Cir. 1962). Indeed, these basic requirements are consistent with the Supreme

Court's broad construction of Section 8. Aircraft Services Int'l, at 1077. See Toledo,

321 U.S. at 57 (“One must not only discharge his legal obligations. He must also go

beyond them and make all reasonable effort....”).



                                          33
         Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 41 of 71



         It is plain that the Carrier here has filed an ambush motion for injunction

against the Pilots Union. The Carrier never provided the detailed report of its

expert or any other evidence to the Pilots Union prior to filing suit, though this was

requested to be sure. The Carrier never sought to "conference" with the Pilots Union

to at least try to discuss the matter as required by 45 U.S.C. § 152, Second.4 Rather

than meeting with the Pilots Union in "good faith" with a "sincere effort to resolve

their differences," the Carrier spent months amassing evidence, drafting

voluminous declarations and lengthy motion papers to file with this Court. Instead

of avoiding "unfair surprise" the Carrier has maximized it here. It made no effort to

resolve the dispute, let alone a "reasonable effort," which is a predicate for Court

jurisdiction under NLGA Section 8.

         Second, as aforesaid concerning the minor dispute analysis above, the Carrier

has wholly failed to avail itself of mandatory arbitration with the parties' System

Board of Adjustment as required by the RLA. See Office & Professional Employee

Int’l Union v. PHI, Inc., 2012 WL 4471572, at *7 (W.D. La. 2012)(barring unions

from seeking injunctive relief after they had refused to resolve the dispute by



4   45 U.S.C. § 152, Second provides:

         Consideration of disputes by representatives

         All disputes between a carrier or carriers and its or their employees
         shall be considered, and, if possible, decided, with all expedition, in
         conference between representatives designated and authorized so to
         confer, respectively, by the carrier or carriers and by the employees
         thereof interested in the dispute.



                                           34
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 42 of 71



arbitration). The Carrier's claims are patent controversies which depend upon

interpretation of the express terms of the labor agreement in Section 26.X over

which the Carrier can file a grievance under CBA Section 20.D and arbitrate before

the parties' System Board of Arbitration by virtue of Section 21.B.3. Having failed

to avail itself the remedy of arbitration, the Carrier has violated NLGA Section 8

and this Court lacks jurisdiction to hear or decide the merits herein.

      Third, Atlas has not taken any action available to it, such as counseling or

discipline, in the cases of the pilots cited in the various anecdotes serving as

examples of alleged “slowdown” conduct. Although Atlas now claims that the pilots

who called out fatigued did so as part of a “calculated campaign to cause long

delays,” the relevant fatigue reports submitted pursuant to the incidents cited by

Atlas were accepted by the joint labor-management Fatigue Risk Management

Program Committee and none of the pilots involved received counseling or

discipline in relation to the fatigue incident. Kolaric Decl. ¶ 6; Santos Decl. ¶ 6;

Viertel Decl. ¶ 6; Shaw Decl. ¶ 6; Lennox Decl. ¶ 6; Riester Decl. ¶ 6; Samson Decl.

¶ 6; Lang Decl. ¶ 6; Simon Decl. ¶ 6; Baranko Decl. ¶ 6; Bellman Decl. ¶ 6; Hoffman

Decl. ¶ 6; Nolting Dec. ¶ 7; Montgomery ¶ 6. Likewise, Atlas listed a number of

incidents which it described as “short notice sick calls” constituting a change in

status quo behavior “that is strategically designed to cause maximum disruption.

ECF Doc. 5-2, 23-25. Despite describing these incidents as “abuse of sick leave,”

Atlas has not counseled nor discipline the pilots involved, let alone even

contemporaneously notify the Pilots Union of the alleged misconduct. See Pocock



                                          35
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 43 of 71



Dec. ¶ 5; Oberby Dec. ¶ 5; Quiros-Callejon Dec. ¶ 5; Molloy Dec. ¶ 5; Howard Dec. ¶

5; Metzger Dec. ¶ 5. Sanchez Dec. ¶ 5.

      Because the Carrier has not made reasonable efforts to resolve the dispute by

conference, discussion or administrative means, the Court lacks jurisdiction to hear

and decide this case on the merits.

      C. The Carrier Has Failed to Demonstrate the Essential Elements of
         Injunctive Relief

             1. The Standard for RLA Preliminary Injunctive Relief

      “A preliminary injunction is ‘an extraordinary remedy that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.’ ” Sherley

v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011) (quoting Winter v. Natural Res. Def.

Council, Inc., 555 U.S. 7, 22 (2008)); see also Mazurek v. Armstrong, 520 U.S. 968,

972 (1997) (“[A] preliminary injunction is an extraordinary and drastic remedy, one

that should not be granted unless the movant, by a clear showing, carries the

burden of persuasion.”) (quoting 11A C. Wright, A. Miller, & M. Kane, Federal

Practice and Procedure § 2948 (2d ed.1995)(emphasis original; quotations omitted).

      Under the RLA in this circuit, a plaintiff's request for a preliminary

injunction can only be granted if the plaintiff proves: (1) there is a substantial

likelihood plaintiff will succeed on the merits; (2) plaintiff will be irreparably

injured if an injunction is not granted; (3) an injunction will substantially injure the

other party; and (4) the public interest will be furthered by an injunction. Davenport

v. Int’l Bhd. of Teamsters, 166 F.3d 356, 360 (D.C. Cir. 1999); Allied Pilots Ass'n v.




                                          36
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 44 of 71



Amer. Airlines, Inc., 121 F. Supp. 2d 1168 (D.D.C. 2000); Delaware & Hudson Ry.

Co. v. United Transportation Union, 450 F.2d 603 (D.C. Cir. 1971).

      Further, the Supreme Court has held that a court may not issue “a

preliminary injunction based only on a possibility of irreparable harm ... [since]

injunctive relief [i]s an extraordinary remedy that may only be awarded upon a

clear showing that the plaintiff is entitled to such relief.” Winter v. Natural

Resources Defense Council, ,555 U.S. 7, 22 (2008) (emphasis added). See also In re

Navy Chaplaincy, 738 F.3d 425, 428 (D.C. Cir. 2013) (requiring proof that all four

prongs of preliminary injunction standard be met before injunctive relief can be

issued). Thus, the plaintiffs bear the burden of persuasion on all four preliminary

injunction factors in order to secure such an “extraordinary remedy.”

           2. The Carrier's Definition of the Status Quo is Erroneous

      Plaintiffs’ submissions rest almost entirely on a proposition they assert

repeatedly, but which is nevertheless in error.     They contend that the Railway

Labor Act, 45 U.S.C. Sections 151, et seq. (“the RLA”), imposes a duty on the

employees in a class or craft during collective bargaining to continue their previous

“behaviors” until the exhaustion of Section 6 of the RLA’s processes, processes

which the U.S. Supreme Court has infamously described as “almost interminable.”

Detroit & Toledo Shore Line R.R. v. United Transp. Union, 396 U.S. 142, 150

(1969)("Shore Line"). Plaintiffs’ preliminary injunction brief, at 60, alleges that the




                                          37
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 45 of 71



Atlas pilots have improperly engaged in status quo5 “changes in behavior” after

their bargaining agent served its RLA Section 6 notice initiating the process to

modify the parties’ collective bargaining agreement.

      To be sure, courts have extended these RLA provisions to apply to unions to

some extent. See Consolidated Rail Corp. v. RLEA, 491 U.S. 299 (1989). Plaintiffs

have gone a bridge too far, however, in arguing that pilots must continue to waive

Minimum Equipment List and contractual requirements, to fly fatigued and to

volunteer for overtime flying because some did so years ago, even when

management has more recently short-staffed the airline to the pilots’ breaking

point, dishonored its contractual obligations to the pilots and opted for litigation

instead of good faith bargaining in the process for obtaining an updated collective

bargaining contract.

      Indeed, the gravamen of Plaintiffs’ complaint is that union leaders and

individual pilots are continuing an effort to strictly enforce their existing collective


5
       It is noteworthy, at the outset, that the RLA does not contain the terms
“major dispute,” “minor dispute” or “status quo” anywhere in its text. Instead, the
distinction between “major” and “minor” disputes and the phrase “status quo” were
adopted by the judiciary. See Elgin, J. & E. Ry. v. Burley, 325 U.S. 711 (1945).
Significantly, the “status quo” phrase derives from RLA provisions, the actual terms
of which apply only to carriers.

       In reality, Section 6, 45 U.S.C. Section 156, states that during bargaining
“rates of pay, rules, or working conditions shall not be altered by the carrier until
the controversy has been finally acted upon ….” Likewise, Section 2, Seventh, 45
U.S.C. Section 152, Seventh, similarly requires that during collective agreement
negotiations for an amended contract, “[n]o carrier, its officers, or agents shall
change the rates of pay, rules, or working conditions of its employees, as a class, as
embodied in agreements or in section 156 of this title.”


                                          38
      Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 46 of 71



bargaining agreement that began prior to RLA negotiations with the full

knowledge, consent and participation of Plaintiffs’ senior management.

Exhibit 2 (“Kirchner Dec.”). ¶22. As described in Captain Kirchner’s Declaration,

Mr. Carlson not only failed to object to the union’s stated goal of strictly holding

Plaintiffs to the terms of the 2011 labor contract, Plaintiffs, through Mr. Carlson,

informed the union that it would do the same with respect to its dealings with pilots

and the union.    Exhibit 2 (“Kirchner Dec.”). ¶22.   There is nothing unfair about

the understanding reached between Mr. Carlson and Captain Kirchner. Collective

bargaining agreements set forth all of the material terms and conditions of

employment between an employer and employees. Those terms are meant to be

followed by the parties. By contrast, if the parties were free to pick and choose

which provisions to ignore and which ones to follow when it suited their purposes,

the long and arduous process of negotiating a collective bargaining agreement

under the RLA would be a colossal waste of time and money.

      Consistent with the above, terms like “SHOP,” short-hand for “Stop Helping

Out Purchase,” and “BOOT,” pilot-speak for blocking out on time as required by

Plaintiffs’ own policies and procedures (which pilots must follow under penalty of

discipline) are nothing more than examples of pilot vernacular for refusing to allow

the Plaintiffs to twist or violate the collective bargaining agreement just because

the parties are now negotiating a new labor contract. Exhibit 2 (“Kirchner Dec.”).

¶¶, 22, 27D.     Use of such terms and similar language in communications with and

between union members does not convert lawful activity into a violation of the



                                         39
      Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 47 of 71



Railway Labor Act. Contra the Plaintiffs, the suggestion that the union must cease

and desist efforts to strictly enforce the labor agreement during contract

negotiations is as absurd as the notion that Plaintiffs must forego their right to

insist that pilots pay their share of insurance premiums simply because the parties

have exchanged proposals over amendments to their existing labor agreement.

Similarly, arguing that pilots must “help” the Plaintiffs by doing more than is

required under their current labor contract before a new one is negotiated is no

more defensible than the union demanding that management increase pilot pay

now before the parties complete contract negotiations. Given Plaintiffs' pre-contract

negotiations pledge to operate according to the principle of strict contract

compliance, one must conclude that Plaintiffs are engaged in an effort to use this

Court’s remedial authority for an improper purpose.As Mr. Kirchner explains in his

Declaration, strict enforcement of the current contract, refusing to grant the other

party variances,   and opposing the cutting    of secretive, non-contract compliant

deals in circumvention of the labor agreement, such as open time assignments that

violate seniority rights, creates pressure and leverage on both sides of the

bargaining table. Exhibit 2 (“Kirchner Dec.”). ¶25.   But that form or pressure and

leverage is completely lawful and necessary to the good faith bargaining process

process under the RLA. If either party is free to ignore the terms of the existing

contract in favor of lax enforcement or the unilateral establishment of new terms

and conditions of employment through twisting the meaning and application of

existing language or toppling long standing practices, there is simply no reason to



                                         40
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 48 of 71



commit to bargaining in good faith over a new labor contract.          A rational party

would conclude that it is more expeditious to attempt to obtain changes away from

the bargaining table.    By petitioning this Court to enjoin the Union’s effort to

strictly enforce the existing contract and by requesting that this Court effectively

order pilots to “help” the Plaintiffs beyond what is required of them under their

current, legally enforceable employment contract, the Plaintiffs are doing more than

trying to trample on union and pilots’ RLA-protected right to demand compliance

with their current collective bargaining agreement – Plaintiffs are attempting

to use the Court to obtain an unfair advantage in collective bargaining

negotiations over a new contract.

      If the union is muzzled and prevented from encouraging its members to hold

management to the bargain it struck in negotiations over the 2011 contract, then

there is no reason to expect a new contract anytime soon.         Rather, management

will have achieved the ultimate advantage in negotiations.          The union will be

reduced to prioritizing the avoidance of contempt fines above all other

considerations and Plaintiffs will be free to seek operational improvements and

efficiencies by cutting the corners of the existing contract and exploiting pilot fear of

retaliation for continuing to demand that management comply with the 2011

collective bargaining agreement that the entire pilot group seeks to improve.

Injunctive relief in this case will not aid good faith negotiations; it will irrevocably

and fundamentally alter the balance of bargaining power in favor of the Plaintiffs

and, thereby, undermine the possibility of good faith negotiations going forward.



                                           41
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 49 of 71



      In ruling that the obligations imposed by Section 2, First, 45, U.S.C. § 152,

First, were enforceable by injunction to prevent bad faith bargaining, Chicago &

North Western Ry. v. United Transp. Union, 402 U.S. 570, 579, n. 11 (1971)

(internal quotations and citations omitted), the court emphasized that “great

circumspection should be used in going beyond cases involving desire not to reach

an agreement for doing so risks infringement of the strong federal labor policy

against   interference   with   the   substantive   terms   of   collective   bargaining

agreements.” For, “the vagueness of the obligation under Section 2, First could

provide cover for a freewheeling judicial interference in labor relations of the sort

that called forth the Norris-LaGuardia Act in the first place.” Id., at 583. Plaintiffs’

arguments pile vagueness upon vagueness, inviting this Court, contrary to the

commands of the U.S. Supreme Court, to intervene in supervising the tiniest details

of the parties’ relations over the course of the last twenty months of bargaining.

      Again, in Burlington Northern R.R. v. Brotherhood of Maintenance of Way

Employees, 481 U.S. 429, 451-52, n. 15 (1987), the court reaffirmed its narrow

interpretation of the judiciary’s role in RLA bargaining disputes. There, the court

rejected a carrier’s contention that Section 2, First, implicitly authorized the

issuance of an injunction to prohibit striking workers from engaging in secondary

picketing. Id. Such conduct would have been unlawful under Section 8(b)(4)(B) of

the Labor-Management Relations Act, 29 U.S.C. Section 158(b)(4)(B), if that law

applied. However, the court nonetheless explained that the carrier’s argument was

faulty because it was asking the court not only to infer that a statutory duty to



                                          42
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 50 of 71



refrain from secondary picketing was so vital to the RLA that the courts should

enforce it by injunction, “but also that such a duty exists.” Id.

       Here, likewise, the carriers are seeking a judicial determination that a craft

or class of airline employees must scrupulously maintain the entire range of

“behaviors” in which they had engaged prior to initiating bargaining. And they are

further contending that such a duty, if it exists, is so central to the Section 2, First,

obligation to bargain in good faith that it justifies federal court intervention, by

injunction, in the bargaining process. Plaintiffs argue that whatever can be

characterized as a pre-bargaining “behavior” of an entire craft or class of a carrier’s

employees remains frozen throughout the “almost interminable” RLA process of

achieving an amended CBA. Detroit and Toledo Shore Line R.R., 496 U.S. at 150.

And they further argue that this extensive and vague duty that they thus assert is

so critical to the RLA that the judiciary should overcome the well-established

presumption against intervention in labor-management bargaining to enforce by

injunction the ill-defined and virtually boundless contours of their supposed RLA

duty. We submit that Plaintiffs’ contentions in this regard go beyond the reach of

the RLA and should be rejected. There is nothing in the RLA that requires pilots to

maintain peak performance, let alone the same performance of duties during the

bargaining period. Indeed, in a case like this one where the Carrier has undertaken

a period of massive expansion with chronicled staffing and scheduling issues, it is

impossible for pilots to match the same performance as previously existed during

prior periods of airline stability.



                                           43
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 51 of 71



      Rather, in Shore Line, the Supreme Court defined the "status quo" as the

contract, objective working conditions and past practices between the parties,

excluding any idea that there was a "behavioral status quo" which the employees

had to maintain. The Court wrote:

      the mere fact that the collective agreement before us does not
      expressly prohibit [certain conduct] would not have barred the
      [employer from engaging in that conduct] if, apart from the agreement,
      such [conduct] had occurred for a sufficient period of time with the
      knowledge and acquiescence of the employees to become in reality a
      part of the actual working conditions.

396 U.S. at 153-54, 90 S.Ct. at 301.

      An “established practice” under the Act should demonstrate not only a

pattern of conduct but also some kind of mutual understanding, either expressed or

implied. Among the factors one might reasonably consider would be the mutual

intent of the parties, their knowledge of and acquiescence in the prior acts, along

with evidence of whether there was joint participation in the prior course of

conduct, all to be weighed with the facts and circumstances in the perspective of the

present dispute. United Transp. Union, Local Lodge No. 31 v. St. Paul Union Depot

Co., 434 F.2d 220, 222-23 (8th Cir.1970), cert. denied, 401 U.S. 975, 91 S.Ct. 1194,

28 L.Ed.2d 324 (1971).

      Here, the Carrier has not established any binding "past practice" regarding

any of the alleged pilot "behaviors" herein. There is no evidence of a "mutual

understanding" that pilots were to maintain any certain level of sick time usage,

fatigue leave usage, open time flying, acceptance of crew meals, block out time or

any other of the complaints the Carrier lodges here.

                                         44
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 52 of 71



      The Eleventh and Seventh Circuit Delta and United decisions, discussed

above, are not binding upon this Court, and we respectfully submit that the Sixth

Circuit’s ABX decision should instead be followed in the case at bar.

            3. The Carrier's Delay Militates Against Injunctive Relief

      A six-month statute of limitations applies to claims brought under Section 2,

First of the RLA. See Bhd. of Locomotive Eng’rs v. Atchison, Topeka & Santa Fe Ry.

Co., 768 F.2d 914, 919 (7th Cir. 1985). For example, in Ry. Labor Executives’ Assn

v. Soutger Ry. Co., 860 F.2d 1038, 1045 (11th Cir. 1988), the union’s failure for over

six months to object to a carrier’s implementation of a new urinalysis policy

precluded its claim for a violation of the status quo.

      Moreover, “[a]n unexcused delay in seeking extraordinary injunctive relief

may be grounds for denial because such delay implies a lack of urgency and

irreparable harm.” Open Top Sightseeing USA v. Mr. Sightseeing, LLC, 48 F. Supp.

3d 87, 90 (D.D.C. 2014); Newdow v. Bush, 355 F. Supp.2d 265, 292 (D.D.C. 2005).

The D.C. Circuit has found that a delay of forty-four days before bringing action for

injunctive relief was “inexcusable,” and “bolstered” the “conclusion that an

injunction should not issue,” particularly where the party seeking an injunction had

knowledge of the pending nature of the alleged irreparable harm. See Fund for

Animals v. Frizzell, 530 F.2d 982, 987 (D.C. Cir. 1975); Mylan Pharms., Inc. v.

Shalala, 81 F. Supp.2d 30, 44 (D.D.C. 2000) (noting that delay of two months in

bringing action for injunctive relief “militates against a finding of irreparable

harm”); Delmatoff, Greow, Morris Langhans, Inc. v. Children's Hosp. Nat'l Med.



                                           45
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 53 of 71



Ctr., 1989 WL 168856, at *3 (D.D.C. May 3, 1989) (finding, in trademark action,

that “a substantial delay in moving for a preliminary injunction indicates that no

irreparable harm will result if such relief is denied”).

      Here, the Carrier's own expert evidence claims that there was a clear spike in

pilot behavior evidencing a "slowdown" right after the Section 6 notice was filed at

the beginning of 2016. That was more than twenty months ago! The Carrier has

offered no excuse for the delay.

      Accordingly, the Court should reject the Carrier's argument that it will suffer

irreparable harm absent preliminary injunctive relief.

   4. The Carrier's Statistical Evidence of a Slowdown is
      Untrustworthy

      To be sure, under the RLA statistical evidence alone is insufficient to prove

that unlawful self-help has occurred. Air Line Pilots Ass’n v. United Air Lines, Inc.,

802 F.2d 886, 906 (7th Cir. 1986). Here, the Carrier's expert evidence is simply

neither trustworthy nor probative.

      As chronicled in the detailed Declaration of Pilots Union expert Dan Akins,

the Carrier's expert report by Dr. Darin Lee is fatally flawed. In it, Dr. Lee

flagrantly fails to account for operational issues at Atlas that predate the Pilots

Union’s RLA Section 6 Notice including admitted dramatic growth and change in

the very business of the Atlas operation. Dr. Lee’s failure to adequately define a

causal relationship between observed behaviors and observed effects wholly

undermines his voluminous statistical work. His analysis is not an objective, but

instead ignores impartial analytical practice and manicures the available data. He

                                           46
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 54 of 71



invented non-existent measures, and employed a range of statistical analysis geared

to support his assertion that the sole cause of changes in observed pilot behavior

was Union orchestration commencing with Section 6 pilot contract negotiations on

February 16, 2016.” Akins Dec. ¶ . There is no reason to believe that operational

issues at Atlas have been caused by pilot behavior or orchestrated in any way by the

Union. The company’s poor on-time performance predates the Union’s Section 6

notice, as do nearly all other behaviors “identified” by Dr. Lee. Dr. Lee thus fails to

establish a convincing relationship between alleged pilot behavior and operational

impacts or customer goodwill. In reality, the vast majority of operational problems

at Atlas are the result of rapid growth, a changing route structure and operational

profile, combined with a management failure to properly invest in adequate

capacity to service customer requirements.” Akins Dec. ¶ II.D.

      Further, as explained in the Akins Report, Dr. Lee has not shown that Atlas’

pilots have been declining to volunteer for open time, have been intentionally

delaying departures, or have been increasing maintenance write-ups, as part of a

concerted slowdown since February 2016. Akins Dec. ¶ III.

      The Carrier has failed to prove that it is substantially likely to succeed on the

merits and thus, this Court should deny its motion.

   5. There is No "Clear Proof" of a Violation Attributable to the
      Pilots Union under NLGA Section 6

      In order to establish that section 6 of the Norris-LaGuardia Act does not

insulate the IBT, the Carrier was required to show by “clear proof” the IBT's

involvement with alleged slowdown activities abuse. Air Line Pilots Ass’n v. United

                                          47
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 55 of 71



Air Lines, Inc., 802 F.2d 886, 900 (7th Cir. 1986). The clear proof standard requires

the Carrier to prove by clear and convincing evidence, as opposed to a

preponderance, the Pilots Union's involvement in an improper slowdown. Id. (citing

See United Mine Workers v. Gibbs, 383 U.S. 715 (1966)).

      Here, while the Carrier has some evidence that union officials made stray

comments to the pilot group about how strict enforcement of the CBA affects labor

negotiations, such evidence is not conclusive, nor even probative of a slowdown

here. First, the evidence is abundant that the Pilots Union's efforts to step up

enforcement of the CBA commenced when the new local union administration came

into office in 2014, twenty months before the RLA Section 6 notice was even sent.

The Pilot's Unions innocuous references to negotiations were simply a continuation

of its lawful status quo enforcement of the CBA. There is no evidence that such

comments had any impact on the pilot group. Akins Dec. ¶ II.D. Second, such status

quo enforcement of the CBA which went unchallenged by the Carrier before the

statute of limitations period here, must be viewed if at all as the status quo, lest the

Carrier be rewarded for slumbering on its rights in equity. Third, since the Carrier

has failed to evidence any material change emanating from said stray comments, let

alone that it suffered any harm from them, the Court must find that there is no

causal connection to a violation. Id. Last, there is no evidence that the stricter

enforcement objective of the Pilots Union was unlawful as it concededly was made

to "make and maintain" an agreement with the Carrier under RLA Section 2, First;




                                          48
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 56 of 71



not to avoid an agreement or to try to impose unlawful or non-mandatory terms

under RLA Section 6.

      The Court must conclude that the Carrier has not met its burden to show

that it is substantially likely to succeed on the merits that the Pilots Union

instigated and unlawful slowdown under the clear proof standard.

   6. The Carrier's Anecdotal Evidence of a Slowdown is Suspect

      Apart from the wholesale lack of competent, credible statistical evidence of a

slowdown or any material impact from Pilot Union communications discussing the

strict enforcement of contractual rights as impacting labor negotiations, the Carrier

has also failed to establish a concerted slowdown from the anecdotal evidence it has

provided to the Court, most notable through the self-serving declaration of it

executive Jeffrey Carlson. First, the Pilots Union has investigated each instance of

alleged "short notice" sick call. The Carrier's claims of abuse are patently

unsupported. For instance, pilot Tyson Howard was ill and an Atlas scheduler

transferred him to an on-call emergency medical service provider who advised him

to rest and say hydrated. See Howard Dec. at 4. Pilot Terry Glover was incorrectly

marked by the scheduling department as sick. See Glover Decl at 3. Pilot Gonzalo

Quiros-Callejon was distraught over his wife's cancer condition and was awarded

FMLA and not in condition to operate the flight to South Korea. See Quiros-Callejon

Dec. at 4. Pilot Drue Overby called off sick due to a sinus head cold, which made

him tired and not fit to fly. See Overby Dec. at 4. Pilot Daniel Pocock called out sick

due to unbearable pain in his ankle, leaving him unable to put weight on that foot.



                                          49
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 57 of 71



His doctor diagnosed his condition as gout and assigned medication to relieve the

pain and reduce the amount of uric acid levels. See. Pocock Dec. at 4.

      In each instance alleged by the Carrier, the pilot had a valid medical reason

for calling off sick. Indeed, many of these pilots have medical proof from Carrier and

personal health care providers of the necessity of sick leave, documenting the need

to call off as they did, sometimes on short notice. The Carrier has not identified any

"bogus" sick calls designed to just harass the Carrier.

      Second, the Pilots Union has investigated each instance of alleged fatigue call

abuse. As explained more fully in their Declarations, the pilots were fatigued for

legitimate reasons. To highlight, pilot Shaw called off fatigued from a ten hour

flight from Sydney, Australia to Shanghai, China after an eight hour maintenance

delay, which would have resulted in 24 hours without rest. Shaw Dec. at 5. Pilot

Simon was fatigued because after awaking fully rested, he learned that his flight

had been rescheduled for 12 hours later. He was not able to reset his sleep so that

he was rested in advance of his new duty period. Simon Dec. at 5. Similarly, pilot

Samson was sleep prepared for duty pursuant to his original schedule, but upon

waking, he learned that a series of scheduling changes resulted in him beginning a

duty period at the opposite side of his sleep cycle (ie., he was to begin duty at the

very time he would naturally be going to sleep). He was not able to achieve the

same amount of sleep for the delayed duty period. Samson Dec. at 5.

      Further, Pilots decisions to call off fatigued sometimes took into account the

fact that they would be operating as part of a two person crew with no in-flight



                                          50
      Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 58 of 71



break. Riester Dec. at 5; Lang Dec. at 5.      For instance, pilot Daniel Lennox,

operating on three hours of sleep and facing a delayed takeoff with a new first

officer, decided it would not be safe to operate the flight. Lennox Dec. at 5. And

again he called off because he got no rest because his crew rest seat was broken. He

called off fatigued because poor sleep before a duty day of over eighteen hours.

Lennox Dec. at 5.

      While the Carrier has attempted to characterize these and other instance of

clear and legitimate fatigue issues as suspect, in each instance provided in the

record by the Pilots Union, that is simply not the case. Again, none of the alleged

instances resulted in any action taken against the pilot or notice of impropriety to

the Pilots Union.

      Again, the Court should find that the Carrier is not likely to succeed on the

merits.

   7. The Balance of the Equities Militates Against
      Granting Preliminary Injunctive Relief

      As aforesaid, the Carrier has failed to demonstrate that any of the alleged

"harms" to its financial performance or "customer good will" are attributable to any

alleged Pilot Union slowdown. Rather, the Carrier is trying to characterize long-

term performance problems as a "harm" emanating from the pilot group, rather

than from a simple inability to manage the enterprise in a period of explosive

growth into new markets. Akins Dec. § II.D. No lawful injunction against the Pilots

Union will cure those ills.   By contrast, the Pilots Union and pilots will suffer

enormous harm if enjoined from enforcing their CBA - a right guaranteed by the

                                        51
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 59 of 71



RLA. First, such an injunction will likely result in more pilots flying sick and

fatigued and more aircraft flying with maintenance issues - all substantial safety

issues for the pilots and the flying public as well. Second, such an injunction will

damage the delicate balance of labor relations and collective bargaining, giving the

Carrier the "hammer" of contempt against the Pilots Union and its members. Third,

such an injunction will embroil the Court into the labor relations of the parties,

though Congress and the courts have admonished judges to stay out of "the labor

injunction business." Central Vermont Ry. v. Broth. of Maintenance, 793 F.2d at

1299. Indeed, granting the requested preliminary injunction does not serve the

public interest because it undermines the collective bargaining policies of the RLA.

Accordingly, the balance of the equities favor denial of Plaintiffs' motion.

      D. The Carrier's Request for Relief Sought is Fatally Overbroad

      Plaintiffs seek exceptionally broad injunctive relief request is offensive to

both Section 9 of the NLGA and the First Amendment of the United States

Constitution. Specifically, the Plaintiffs seek an injunction enjoining the Union “to

cease and desist all exhortations or communications encouraging same,” where

“same” refers to “any concerted refusal to perform normal pilot operations,

including, but not limited to, any strike, work stoppage, sick-out, slowdown, work to

rule campaign, or any other concerted refusal to perform normal pilot operations

consistent with the status quo.” See ECF Doc. 1 at 80-81. Plaintiffs further seek

that the Union be enjoined


      “from including in such notices (or distributing contemporaneously
      with such notices) any statements that are intended, or could be

                                          52
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 60 of 71



      interpreted to mean, that pilots should continue to engage in the
      previously-described conduct notwithstanding the injunctive relief,
      including:

      a. Any assertion that the injunctive relief does not prohibit individual
      pilots from making voluntary decisions to engage in such actions; and
      b. Any explanation of circumstances in which it would be appropriate
      or necessary for pilots to engage in such actions prohibited by
      injunctive relief.”

See ECF Doc. 1 at 80-81 (emphasis added).         Examples of the conduct of which

Plaintiffs complain include instances of the Union educating members of

contractual rights and rights contained in federal regulations, the Union urging

members to exercise professional responsibility with regard to safety issues, and the

Union providing updates about the progress of contract negotiations. It also

encompasses conduct in practice prior to the status quo period.


             1. Plaintiffs’ Request for an Injunction Should Be Denied
                Because They Cannot Substantiate Their Allegations as
                Required By NLGA Section 9

      Plaintiffs have sought extremely broad relief which they have been unable to

factually substantiate as required under NLGA Section 9. Under NLGA Section 9,

“… every restraining order or injunction granted in a case involving or growing out

of a labor dispute shall include only a prohibition of such specific act or acts as may

be expressly complained of in the bill of complaint or petition filed in such case and

as shall be expressly included in said findings of fact made and filed by the court as

provided in this chapter.” 29 U.S.C.109 (emphasis added). “The evident purpose of

this section, as its history and context show, was not to preclude mandatory

injunctions, but to forbid blanket injunctions against labor unions, which are


                                          53
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 61 of 71



usually prohibitory in form, and to confine the injunction to the particular acts

complained of and found by the court.” Virginian Ry. v. System Fed'n No. 40, 300

U.S. 515, 563 (1937)(finding injunction ordering carrier to treat with labor

organization valid under the NLGA); see also Int’l Ass'n of Machinists & Aerospace

Workers, AFL-CIO v. Eastern Air Lines, Inc., 849 F.2d 1481, 1487 (D.C. Cir. 1988)

(vacating injunction where district court did not weigh relevant criteria nor make

sufficient factual findings to support issuance). “Section 9 serves to prevent district

courts from issuing overbroad prospective injunctions.” Westmoreland Coal Co., Inc.

v. Int’l Union, United Mine Workers of America, 910 F.2d 130, 138 (4th Cir.

1990)(finding that under Section 109, employers seeking injunctive relief “must

support their plea with allegations of specific acts, supported by the facts”).


      Although Plaintiffs have complained of a myriad of specific acts, they are

unable to factually support those allegations as required by NLGA Section 9. The

Plaintiffs’ argument is that the Union is engaging in a slowdown that changes the

status quo that existed prior to the commencement of RLA Section 6 negotiations in

January 2016. However, Plaintiffs have not credibly shown that the status quo

actually changed after January 2016.


      Moreover, much of the conduct of which Plaintiffs complain was in effect

prior to RLA Section 6 negotiations. For example, Chairman Kirchner’s campaign

to educate his members about their CBA rights and to encourage them to enforce

the CBA began with his election to the office in 2014. Kirchner Dec. ¶24.           As

another example, the number of fatigue reports was steadily rising as part of an

                                           54
      Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 62 of 71



upward trend that began when the Atlas Fatigue Risk Management Plan went into

effect in 2013, following the FAA’s 2012 issuance of new rules revising the pilot

hours of service and rest and requiring fatigue reporting by pilots based on their

own self-assessment.     Ruiz Dec. ¶ 7.       The upward trend is typical of the

implementation of fatigue risk management reporting programs, as pilots have

become better informed of and more comfortable using the program, and as Atlas

has hired an increasingly number of younger pilots who are more comfortable

reporting fatigue. See McCabe Dec. ¶16 and Ruiz de Castilla Dec. ¶ 7.


      Finally, where Plaintiffs have actually shown a change in pilot behavior since

January 2016, such change is due to forces beyond the Union’s control. Plaintiffs

are indeed experiencing a pilot staffing shortage. Atlas and Polar, like the rest of

the worldwide aviation industry, have experienced an increasing decline in pilot

supply as a result of several structural factors and conditions, including mandatory

retirements, retention and recruitment deficits, and operational decisions that place

too heavy an emphasis on securing additional flying business without ensuring that

it has an available supply of pilots to cover the additional flying. As Plaintiffs

themselves acknowledge, their operations have grown significantly, both in scale

and scope, since 2016 when Atlas began flying B0767-300 freighter aircraft as

“Amazon Prime.” Complaint at ¶¶ 24-25. The nature of flying for Atlas has become

more demanding, resulting in increased fatigue, illness, and reluctance to pick up

additional flying from open time. Further, given the recent high turnover at Atlas,

approximately twenty-five percent of the Atlas pilot workforce has less than two


                                         55
          Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 63 of 71



years of seniority with Atlas. See McCabe Dec. ¶ 17. Many of these new pilots are

young and have little or no experience flying the complex international operations

as conducted by Atlas and Polar. Id. This is a factor many pilots take into account

when calling out fatigued. See Nolting Dec. ¶ 5; Simon Dec. ¶ 5. Many of these new

pilots were previously employed by domestic commuter airlines where calling out

fatigued was not considered and treated unfavorably, and are accordingly more

comfortable participating within the industry’s new fatigue and passenger hours of

service rules. See McCabe Dec. ¶ 17.


      Much of the broad injunctive relief sought by Plaintiffs would inappropriately

impair the Union’s communications and pilots’ lawful and necessary conduct. As

discussed below, the requested relief would endanger Defendants’ First Amendment

rights.    Further, much of the conduct addressed in Plaintiff’s complaint- including

sharing information about fatigue, health, and maintenance- has profound

implications for the safety of the pilots and the public. The injunction sought by

Plaintiffs would hinder the Union’s ability to communicate with its members about

their professional safety obligations and would impair individual pilots from

exercising their professional judgment with regard to safety issues.


      In sum, Plaintiffs cannot show the complained-of conduct is a change in the

status quo and therefore such conduct should not be enjoined. Even if Plaintiffs

were to substantiate some of their allegations, where Plaintiffs have failed to show

the complained-of conduct is a change in the status quo, such conduct should not be

enjoined. If Plaintiffs were to show that complained-of conduct is a change in the

                                          56
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 64 of 71



status quo, any injunctive relief should be narrowly tailored to enjoin only conduct

actually established by factual findings and to avoid violating Defendants’ First

Amendment rights or impairing pilots’ exercise of professional judgment.


              2. Plaintiffs’ Requested Injunction is an Impermissible Prior
                 Restraint Under the First Amendment.

       The injunction sought by Atlas is also an impermissible prior restraint under

the First Amendment of the United States Constitution, which strongly disfavors

injunctions that impose a prior restraint on speech. See Metropolitan Opera Ass'n,

Inc. v. Local 100, Hotel Employees and Restaurant Employees Intern. Union, 239

F.3d 172 (2d Cir 2001)(noting that injunction in labor dispute presented serious

questions under the First Amendment and vacating injunction because it was

impermissibly vague). A prior restraint comes with “a heavy presumption against

its constitutional validity,” and when it takes the form of a court-issued injunction,

“the risk of infringing on speech protected under the First Amendment increases.”

See Metropolitan Opera, 239 F.3d at 176; citing Organization for a Better Austin v.

Keefe, 402 U.S. 415, 419 (1971)(finding complainant had not met “heavy burden” of

showing justification for imposition of injunction prohibiting distribution of leaflets

critical of his business practices); see also Karhani v. Meijer, 270 F.Supp. 2d 926

(E.D. Mich. 2003)(finding that TRO prohibiting leafletting of business facing civil

rights lawsuit would create an unconstitutional prior restraint of speech under the

First Amendment, absent showing distribution of leaflets posed serious or imminent

threat to defendants’ right to a fair trial).



                                            57
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 65 of 71



      The injunction sought by Plaintiffs would violate Defendants’ First

Amendment rights by barring Defendants from engaging in communications with

members about numerous subjects including their rights under the CBA and federal

law, their professional responsibilities with regard to safety, and the state of

contract negotiations. The Supreme Court has found that “the dissemination of

information concerning the facts of a labor dispute must be regarded as within that

area of free discussion that is guaranteed by the Constitution.” Thornhill v. State of

Alabama, 310 U.S. 88, 102 (1940)(reversing conviction of the president of a local

union for violating an Alabama statute that prohibited only labor picketing, where

he was peaceably picketing his employer during an authorized strike). The Supreme

Court also has found that workers have a “constitutionally guaranteed right to

assist and advise each other.” See Bhd. of R. R. Trainmen v. Virginia ex rel. Va.

State Bar, 377 U.S. 1, at 5-6 (1964)(finding “the First Amendment's guarantees of

free speech, petition and assembly give railroad workers the right to gather

together for the lawful purpose of helping and advising one another in asserting the

rights [under federal statutes] statutory rights which would be vain and futile if the

workers could not talk together freely as to the best course to follow.”); see also

NAACP v. Claiborne Hardware Co., 459 U.S. 898 (1982)(finding that boycott

activity that was not itself violent was protected under the First Amendment). This

right must surely extend to speech about the contents of a labor agreement and

members’ rights and responsibilities as regards safety issues.




                                         58
      Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 66 of 71



      The many Union communications complained of by Plaintiffs include

education of members of their rights under both the CBA and federal law,

reminders to members of their professional safety obligations, and updates

concerning the progress of contract negotiations. Plaintiffs request that the Union

be enjoined from making any statements,


      “that are intended, or could be interpreted to mean, that pilots should
      continue to engage in the [alleged slowdown], including:

      a. Any assertion that the injunctive relief does not prohibit individual
      pilots from making voluntary decisions to engage in such actions; and

      b. Any explanation of circumstances in which it would be appropriate
      or necessary for pilots to engage in such actions prohibited by
      injunctive relief.”

See ECF Doc. 1 at 80-81 (emphasis added). Such injunction would easily encompass

necessary and protected communications.


      In the event an injunction is issued in this case, it should be narrowly and

precisely tailored to avoid restricting the Union’s First Amendment rights.

Defendants recognize that the First Amendment does not protect advocacy of

unlawful conduct, See Aircraft Service Intern. Inc. v. Int’l Bhd. of Teamsters AFL

CIO Local 117, 742 F.3d 1110 (9th Cir 2014)(finding that actions inconsistent with

national labor laws are generally not protected by the First Amendment). However,

when such unlawful conduct occurs in the context of constitutionally protected

activity, “‘precision of regulation’ is demanded.” See N.A.A.C.P. v. Claiborne

Hardware Co., 458 U.S. 886 (1982), citing NAACP v. Button, 371 U.S. 415, 438

(1963)(finding that statute proscribing any arrangement by which prospective


                                        59
       Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 67 of 71



litigants are advised to seek assistance of particular attorneys and making it crime

for person to advise another that his legal rights have been infringed and to refer

him to particular attorney or group of attorneys for assistance violates First

Amendment      freedoms    protected   against   state   action    by   the   Fourteenth

Amendment); see also Aircraft Service Intern. v. Local 117, 742 F.3d at 1122, citing

Miller v. United Food & Commercial Workers Union, 708 F.2d 467, 472 (9th Cir.

1983)(holding that a district court could enjoin informational picketing in the midst

of a labor dispute as long as the injunction “furthers an important or substantial

government interest; if the governmental interest is unrelated to the suppression of

free expression; and if the incidental restriction on alleged First Amendment

freedoms is no greater than is essential to the furtherance of that interest.”).


                                 IV. CONCLUSION

      For the reasons stated above, the Court should dismiss Plaintiff's request for

a preliminary injunction for lack of jurisdiction, or in the alternative, deny it on the

merits on the facts and law presented.


Dated: October 24, 2017                  Respectfully submitted,


                                         /s/ Edward M. Gleason, Jr.
                                         Edward M. Gleason, Jr.
                                         (D.C. Bar No. 429325)
                                         Chief Counsel, Teamsters Local 1224
                                         Law Office of Edward Gleason, PLLC
                                         910 17th Street, N.W., Suite 800
                                         Washington, DC 20006
                                         Ph: 202-800-0099
                                         egleason@gleasonlawdc.com
                                         (Application for Admission pending)

                                           60
Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 68 of 71




                            /s/ James Petroff
                            James Petroff (Ohio Bar No. 42476)
                            Trent R. Taylor (Ohio Bar No. 91748)
                            BARKAN MEIZLISH, LLP
                            250 East Broad Street, 10th Floor
                            Columbus, Ohio 43215
                            Ph: (614) 221-4221
                            Fax: (614) 744-2300
                            jpetroff@barkanmeizlish.com
                            ttaylor@barkanmeizlish.com

                            (Applications for Admission pending)

                            /s/ Deirdre Hamilton
                            Deirdre Hamilton
                            D.C. Bar No. 472334
                            Staff Attorney
                            International Brotherhood of Teamsters
                            25 Louisiana Ave., NW
                            Washington, DC 20001-2198
                            Phone: (202) 624-6948
                            Fax: (202) 624-6884
                            dhamilton@teamster.org

                            Counsel for-Plaintiffs International
                            Brotherhood of Teamsters and Teamsters
                            Local 1224




                              61
      Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 69 of 71



                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document with all attachments was filed

with the Clerk of this Court this 24th day of October, 2017, and was served on all

parties, electronically through the Courts ECF system with hard copies delivered to

chambers by UPS Next Day Delivery.



                                             /s/ Deirdre Hamilton
                                             Deirdre Hamilton




                                        62
     Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 70 of 71



                                   INDEX TO EXHIBITS


Exhibit No. Description


1           Atlas CBA
2           Kirchner Declaration
3           Akins Declaration

4           McCabe Declaration
5           Ruiz de Castilla Declaration

6           Baranko Declaration
7           Bellman Declaration
8           Hoffman Declaration
9           Kolaric Declaration
10          Lang Declaration
11          Lennox Declaration
12          Montgomery Declaration
13          Nolting Declaration
14          Riester Declaration
15          Samson Declaration
16          Santos Declaration
17          Shaw Declaration
18          Simon Declaration
19          Viertel Declaration


20          DePledge Declaration
21          French Declaration
22          Ojeda Declaration


23          Glover Declaration
24          Greene Declaration
25          Howard Declaration
26          Molloy Declaration
27          Metzler Declaration
28          Overby Declaration
29          Pocock Declaration
30          Quiros-Callejon Declaration
31          Sanchez Declaration


                                      63
     Case 1:17-cv-01953-RDM Document 31 Filed 10/24/17 Page 71 of 71



32          Gerber Declaration
33          Von Thaden Declaration
34          Peterson Declaration
35          Wells Declaration
36          Griffiths Declaration




                                     64
